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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

                                              :
LISA BARBOUNIS                                :       CIVIL ACTION
                      Plaintiff,              :       NO. 2:19-cv-05030-JDW
-vs-                                          :       NO. 2:20-cv-02946
                                              :
THE MIDDLE EAST FORUM,                        :       PLAINTIFF REQUESTS
GREG ROMAN (individually),                    :       TRIAL BY JURY
DANIEL PIPES (individually),                  :
MATTHEW BENNETT (individually),               :       CONSOLIDATED CIVIL
                   Defendants.                :       ACTION COMPLAINT
                                              :


       Plaintiff, Lisa Barbounis, by and through undersigned counsel hereby files this

Consolidated Civil Action Complaint to consolidate the above referenced civil actions into a

single Complaint to be docketed under the lead docket number 2:19-cv-05030-JDW against

Defendants, Middle East Forum and Daniel Pipes (individually), Matthew Bennett (individually)

and Greg Roman (individually) (collectively “Defendants”) and avers the following:

                                         I.   PARTIES

       1.      Plaintiff, Lisa Barbounis (“Plaintiff” or “Ms. Barbounis”) is an adult individual

who resides in the Commonwealth of Pennsylvania.

       2.      Defendant, Middle East Forum (“MEF”) is a business organization existing under

the laws of the Commonwealth of Pennsylvania with an address for the purposes of service 1650

Market Street, Suite 3600, Philadelphia, PA 19103.

       3.      Defendant, Daniel Pipes is an adult individual who resides in the Commonwealth

of Pennsylvania with a business address for the purpose of service at 1650 Market Street, Suite

3600, Philadelphia, PA 19103.




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       4.      Defendant, Greg Roman is an adult individual who resides in the Commonwealth

of Pennsylvania with a business address for the purpose of service at 1650 Market Street, Suite

3600, Philadelphia, PA 19103.

       5.      Defendant, Matthew Bennett is an adult individual who resides in the

Commonwealth of Pennsylvania with a business address for the purpose of service at 1650

Market Street, Suite 3600, Philadelphia, PA 19103.

       6.      At all times material this action, Defendant, Greg Roman, Defendant, Matthew

Bennett and Defendant, Daniel Pipes aided and abetted under discrimination and harassment and

retaliation in the workplace to which Plaintiff was subjected by Defendants.

       7.      At all times relevant to this Civil Action, Defendant, Daniel Pipes, Defendant,

Greg Roman, and Defendant, Matthew Bennett were employees of Defendant, The Middle East

Forum, and held supervisory authority over Plaintiff, Lisa Barbounis during Plaintiff’s

employment for Defendants.

       8.      Defendant, Daniel Pipes is the President of The Middle East Forum and held

supervisor authority over Plaintiff, Lisa Barbounis.

       9.      Defendant, Greg Roman is the Director of The Middle East Forum and held

supervisor authority over Plaintiff, Lisa Barbounis.

       10.     Defendant, Matthew Bennett holds the position of Director of Development for

The Middle East Forum and held supervisory authority of Plaintiff, Lisa Barbounis.

                                II.   NATURE OF THE CASE

       11.     Plaintiff complains pursuant to Title VII of the Civil Rights Act of 1964, as

codified, 42 U.S.C. §§ 2000e to 20003-17 (amended in 1972, 1978, by the Civil Rights Act of

1991, Pub. L. No. 102-166) (“Title VII”); Title 43 PS Labor § 955, the Pennsylvania Human



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Relations Act, as amended, 43 P.S. §§ 951, et. seq. (“PHRC”), under the laws of the

Commonwealth of Pennsylvania; and under the Philadelphia Fair Practices Ordinance, § 9-1100

et. seq. (“PFPO”) and seeks damages to redress injuries Plaintiff suffered as a result of

Defendants’ discrimination, harassment, retaliation and the hostile work environment which

ultimately led to Plaintiff’s unlawful termination from her employment for Defendants.

Accordingly, Plaintiff brings this Civil Action to redress injuries Plaintiff suffered as a direct

result of violations of federal laws, the laws of the Commonwealth of Pennsylvania and the laws

of the City of Philadelphia and seeks damages to redress the injuries Plaintiff has suffered as a

result of being discriminated against on the basis of her sex and gender, sexually harassed,

sexually assaulted, forced to endure a hostile work environment, and retaliated against by her

employer for reporting such discrimination and harassment.

                              III. JURISDICTION AND VENUE

       12.     This action involves a Question of Federal Law under Title VII of the Civil Rights

Act of 1964. The honorable Court has supplemental jurisdiction over the Commonwealth Law

and Municipal Law Causes of Action.

       13.     Plaintiff’s causes of action under the Pennsylvania Human Relations Act and the

Philadelphia Fair Practices Ordinance are ripe for suit as it has been more than one (1) year since

Plaintiff’s Charge of Discrimination was dual filed with the Pennsylvania Human Relations

Commission and the Philadelphia Commissions on Human Relations.

       14.     Venue is proper in the Eastern District of Pennsylvania as Plaintiff was employed

by Defendants and worked in the City of Philadelphia in the Commonwealth of Pennsylvania

where the discrimination, harassment and hostile work environment complained of occurred.




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       15.     On or around June 20, 2019, Plaintiff, Lisa Barbounis filed a Charge of

Discrimination with the Equal Employment Opportunity Commission (“EEOC”) against

Defendants as set forth herein. Plaintiff’s Charge of Discrimination was dual filed with the

Pennsylvania Human Relations Commission and the Philadelphia Commission on Human

Relations.

       16.     On December 13, 2019, Plaintiff, Lisa Barbounis filed a second Charge of

Discrimination with the Equal Employment Opportunity Commission which was dual filed with

the Pennsylvania Human Relations Commission and the Philadelphia Commission on Human

Relations.

       17.     The EEOC issued a Dismissal and Notice of Rights pursuant to both Charges of

Discrimination filed at the EEOC.

       18.     Both Civil Action Complaints were filed within ninety (90) days of the date when

Plaintiff received the Dismissal and Noticed of Rights from the EEOC.



                                    IV. MATERIAL FACTS



       19.     Plaintiff, Lisa Barbounis began her employment for Defendant, The Middle East

Forum (“MEF”) sometime around October 16, 2017.

       20.     Plaintiff was hired as an Executive Liaison and began her employment with MEF

working with supervisors, Daniel Pipes, Defendant, Greg Roman, and Defendant, Matthew

Bennett.




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          21.   From the onset of her employment, Defendant, Greg Roman subjected Plaintiff,

Lisa Barbounis to discrimination and harassment in the workplace based upon Plaintiff’s sex and

gender.

          22.   Defendant, Greg Roman sexually harassed Plaintiff, Lisa Barbounis and

propositioned Plaintiff, Lisa Barbounis for sex and made unwelcome unwanted sexual advances.

          23.   Defendant, Greg Roman has visited unwelcome, inappropriate, lewd, sexual

advances upon at least ten (10) women during his employment for Defendants.

          24.   Defendant, Daniel Pipes is aware of Defendant, Greg Roman’s inappropriate,

lewd, unwelcome sexual harassment of female employees and female colleagues and at all times

material to this civil action has protected, shielded and indemnified Defendant, Greg Roman for

consequences for Defendant, Greg Roman’s unlawful inappropriate sexual conduct.

          25.   Accordingly Defendant, Daniel Pipes has permitted, condoned, allowed and

sanctioned the discrimination, harassment and unwelcome sexual misconduct of Defendant, Greg

Roman.

          26.   Plaintiff claims violations of the continuing violations doctrine as Plaintiff was

subjected to severe and pervasive discrimination and harassment in the workplace beginning

within months of when Plaintiff, Lisa Barbounis began her employment for Defendants which

was around October 2017.

          27.   Defendant, Greg Roman’s unwelcome sexual harassment of Plaintiff, Lisa

Barbounis began sometime around October 2017 and continued until within 300 days of when

Plaintiff filed a Charge of Discrimination with the EEOC sometime around June 2019.

          28.   Defendant Greg Roman began a campaign of sexual harassment and abuse to

which Plaintiff, Lisa Barbounis was subjected.



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       29.     This campaign of sexual harassment and abuse began within months of when

Plaintiff began her employment.

       30.     Defendant, Greg Roman continued his campaign of sexual harassment and abuse

from sometime around December 2017 until November 2018 when Defendant, Greg Roman was

forced to discontinue visited to MEF’s Philadelphia office.

       31.     Defendant, Daniel Pipes notified Defendant, Greg Roman that to protect the

safety of the female staff, Defendant, Greg Roman was no longer permitted to visit the

Philadelphia office and MEF headquarters.

       32.     Defendant Greg Roman was forced to discontinue working at the MEF

headquarters in Philadelphia because of the severe and pervasive discrimination and harassment

to which he subjected Plaintiff, Lisa Barbounis and other female employees who worked for

MEF.

       33.     Defendant, Greg Roman’s campaign of sexual harassment and abuse started

sometime around December 2017 and continued for about one year until November 2018. This

one year period is the continuous period during which Plaintiff, Lisa Barbounis was subjected to

a severe and pervasive, hostile work environment.

       34.     The discrimination and harassment did not stop and start but occurred on a regular

and continuous basis from December 2017 until November 2018.

       35.     Defendant, Greg Roman initiated a campaign of continuous sexual abuse and

sexual harassment to which Plaintiff, Lisa Barbounis was subjected during her employment for

Defendants.

       36.     Plaintiff filed her Charge of Discrimination June 20, 2019. A theory predicated

upon the continuous violations doctrine will include all acts that contributed to the hostile work



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environment as long as the last act occurred within the statutory period. Plaintiff’s statute of

limitations for filing her Charge of Discrimination under federal protections and the Philadelphia

Fair Practices Ordinance (“PFPO”) is three-hundred (300) days.

       37.     Three-hundred (300) days prior to June 20, 2019 is August 25, 2018. Defendant,

Greg Roman’s continuous campaign of sexual harassment and abuse reached far beyond the

August 25, 2018 statute of limitations and did not end until November 2018.

       38.     Accordingly, Plaintiff, Lisa Barbounis claims violations of the continuing

violations doctrine and includes all acts of sexual harassment and abuse that occurred beginning

December 2017 and continuing until November 2018 which contributed to the hostile work

environment.

       39.     Defendant, Greg Roman’s comments and conduct may have started before the

August 25, 2019 statutory period, however, the campaign of sexual harassment and abuse

continued without pause until November 2018 when Defendant, Greg Roman was forced to stop

visiting Middle East Forum headquarters.

       40.     Defendant, Greg Roman could no longer visit MEF headquarters because of the

severe and pervasive sexual harassment to which Plaintiff, Lisa Barbounis was subjected on a

continuous basis without pause from December 2017 until November 2018.

       41.     Within this period of time Defendant, Greg Roman spoke to Plaintiff, Lisa

Barbounis about sex and sexually inappropriate topics.

       42.     Defendant, Greg Roman asked Plaintiff, Lisa Barbounis whether she would “be

with” a Jewish man.

       43.     Defendant, Greg Roman asked Plaintiff what time of men she liked to date.




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        44.     Defendant, Greg Roman asked Plaintiff what type of men she liked and what her

type was.

        45.     Defendant, Greg Roman asked Plaintiff to describe the men she liked to hook up

with.

        46.     Defendant, Greg Roman’s attempts to engage Plaintiff, Lisa Barbounis in

conversations about romantic and sexual relationships occurred on a regular basis and was part

of Defendant, Greg Roman’s sexual advances to which he subjected Plaintiff on a regular basis

beginning December 2017 and ending November 2018.

        47.     Defendant, Greg Roman invited Plaintiff, Lisa Barbounis to his home on several

occasions beginning prior to August 25, 2018 and extending until November 2018 attempted to

lure Plaintiff, Lisa Barbounis to his home.

        48.     Defendant, Greg Roman has a modus operandi where he attempts to lure women

to his home or hotel room under the pretense of engaging in work and then uses the encounter to

compel sex or make inpatriate unwelcome sexual advances.

        49.     Defendant, Greg Roman sent text messages to Plaintiff late at night and made

sexually suggestive and unwelcome comments.

        50.     This conduct occurred on a continuous basis and extended from prior to August

25, 2018 until November 2018.

        51.     Defendant, Greg Roman forced Plaintiff to sit with him alone in his office and

watch videos.

        52.     Defendant, Greg Roman would not simply send Plaintiff a link to a video and

suggest or request that Plaintiff viewed the video. Defendant, Greg Roman ordered Plaintiff to




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get a chair and bring it behind his desk so that they had to sit next to one-another to watch

videos.

          53.   Defendant, Greg Roman leered at Plaintiff in a sexually suggestive manner and

sat inappropriately close to Plaintiff and stared at Plaintiff.

          54.   Defendant, Greg Roman’s sexual advances to which he subjected Plaintiff on a

regular basis began December 2017 and ending November 2018.

          55.   Defendant, Greg Roman stared at Plaintiff’s backside and spoke to Plaintiff in a

sexually inappropriate manner.

          56.   Defendant, Greg Roman’s sexual advances to which he subjected Plaintiff on a

regular basis began December 2017 and ending November 2018.

          57.   Defendant, Greg Roman invited Plaintiff Lisa Barbounis to spend time with him

socially. This conduct started December 2017 and ended November 2018.

          58.   In April 2018, Defendant, Greg Roman sexually assaulted Plaintiff, Lisa

Barbounis when he stuck his foot under Plaintiff’s rear-end and made an unwelcome sexual

suggestion.

          59.   Defendant, Greg Roman’s physical use of force was aimed at the same objectives

which Defendant, Greg Roman had tried to achieve from December 2017 until November 2018.

          60.   Defendant, Greg Roman tried once again to proposition Plaintiff however in April

2018, Defendant, Greg Roman used force to do so.

          61.   Defendant, Greg Roman also subjected Plaintiff, Lisa Barbounis to unwelcome

touching in March 2018 at the AIPAC Conference.




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       62.    Defendant, Greg Roman’s unwelcome sexual contact in March 2018 and April

2018 was part of a pattern of sexual harassment and abuse that began December 2017 and

continued without pause until November 2018.

       63.    Importantly, the only reason that Defendant, Greg Roman stopped the unwelcome

sexual harassment and sexual abuse in November 2018 was because Defendant, Greg Roman

was no longer allowed at the MEF Philadelphia headquarters because of the risk of harm that

Defendant, Greg Roman’s presence had related to the female staff.

       64.    Defendant, Greg Roman was ordered to discontinue all visits to the MEF

Philadelphia headquarters immediately in November 2018 to protect the safety of female

employees who had to work at MEF’s Philadelphia offices.

       65.    After the March 2018 assault, Defendant, Greg Roman’s conduct and comments

only increased.

       66.    Defendant, Greg Roman continued the campaign of sexual abuse and harassment

through March, into April 2018 and until November 2018.

       67.    Defendant, Greg Roman’s campaign of sexual abuse and harassment only stopped

when Plaintiff, Lisa Barbounis and several coworkers reported Defendant, Greg Roman’s severe

and pervasive sexual harassment.

       68.    Defendant, Greg Roman was forced to discontinue all visits to MEF headquarters

as a direct result of his continuous and nonstop campaign of sexual harassment and abuse to

which Plaintiff, Lisa Barbounis was subjected by Defendant, Greg Roman.




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         69.   Defendant, Greg Roman is very high up in the organization of the Middle East

Forum and currently holds the position of Director of the Middle East Forum.

         70.   Defendant, Greg Roman is also a corporate officer of The Middle East Forum.

         71.   At all times relevant to this civil action Defendant, Greg Roman held the position

of Director of the Middle East Forum.

         72.   As the Director of the Middle East Form, Defendant, Greg Roman was the

penultimate person in charge of the Middle East Forum. Accordingly, Defendant, Greg Roman

along with Daniel Pipes, ran and managed the Middle East Forum.

         73.   Defendant, Greg Roman was and continues to be so high up in the organization

that the only person to whom Defendant, Greg Roman reports is Daniel Pipes.

         74.   Defendant, Greg Roman is considered by Daniel Pipes to be crucial to the

operations and success of the Middle East Forum.

         75.   Defendant, Greg Roman has the ability to create policy for the Middle East

Forum.

         76.   Defendant, Greg Roman must be considered a proxy and all discrimination and

harassment to which Plaintiff, Lisa Barbounis was subjected including the sexual assault, sexual

misconduct, sexual harassment, gender and sex discrimination and retaliation by Defendant,

Greg Roman must be held to a proxy-liability standard as the harasser-supervisor is a proxy for

the Middle East Forum.

         77.   Daniel Pipes is currently the President of the Middle East Forum. There are no

individuals employed by the Middle East Forum who hold positions above Daniel Pipes.



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         78.    Defendant, Greg Roman and Daniel Pipes are responsible for developing,

enacting, and enforcing all policies, procedures, protocols employed to operate the Middle East

Forum.

         79.    At all times relevant to this Civil Action Daniel Pipes was the President of The

Middle East Forum.

         80.    Sometime around the weekend of March 1 through March 3, 2018, Plaintiff, Lisa

Barbounis and coworker, Patricia McNulty (“Ms. McNulty”) attended a conference in

Washington D.C.

         81.    The conference in Washington D.C., which Ms. Barbourins and Ms. McNulty

attended was called the American Israel Public Affairs Committee (“AIPAC”).

         82.    Other employees of the Middle East Forum in attendance at the AIPAC

Conference included Defendant, Greg Roman, Defendant, Mathew Bennett, and coworker,

Marnie Meyer.

         83.    Defendant, Greg Roman and Defendant, Mathew Bennett booked and shared an

Airbnb in Washington D.C. for the AIPAC Conference.

         84.    Plaintiff, Lisa Barbounis booked a hotel room for the AIPAC Conference.

         85.    The other female employees of MEF who attended the AIPAC Conference also

booked hotel rooms. This includes Patricia McNulty and Marnie Meyer.

         86.    After dinner, Defendant, Greg Roman invited Grantees from The Pinsker Center

and a writing fellow named Raheem Kassam back to the Airbnb which was shared by Defendant,

Greg Roman and Defendant, Matthew Bennett.

         87.    Defendant, Greg Roman also asked Plaintiff, Lisa Barbounis, Patricia McNulty,

and Marnie Meyer to come back to the Airbnb that he had booked.



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       88.      That evening, while at the Airbnb, Defendant, Greg Roman positioned himself on

the couch between Plaintiff, Lisa Barbounis and coworker, Patricia McNulty.

       89.      Defendant, Greg Roman put his arms around Plaintiff, Lisa Barbounis and

coworker, Patricia McNulty.

       90.      Defendant, Greg Roman grabbed coworker, Patricia McNulty by her upper thigh

and violently yanked coworker, Patricia McNulty onto his lap. Defendant, Greg Roman put his

hand on Patricia McNulty’s upper thigh and rear-end area in order to lift Patricia McNulty up

and place Patricia McNulty on Defendant, Greg Roman’s lap.

       91.      Defendant, Greg Roman then began whispering inappropriate sexual advances in

coworker, Patricia McNulty’s ear.

       92.      Defendant, Greg Roman attempted to yank Plaintiff, Lisa Barbounis toward him

as well.

       93.      Plaintiff, Lisa Barbounis was further away on the couch and therefore in a better

position to resist Defendant, Greg Roman’s attempt to pull Plaintiff, Lisa Barbounis toward

Defendant, Greg Roman.

       94.      Alternatively, Defendant, Greg Roman picked coworker, Patricia McNulty up by

her upper thigh and rear end area and aggressively placed Patricia McNulty on his lap.

       95.      Defendant, Greg Roman is a large man and used his size and height in his violent

and aggressive interactions with female employees who Defendant, Greg Roman supervised.

       96.      Defendant, Greg Roman used his size to intimidate and sometimes overpower

female employees who Defendant, Greg Roman was in charge of as Director of the MEF.

       97.      Plaintiff, Lisa Barbounis was present when Defendant, Greg Roman picked

coworker, Patricia McNulty up and placed her on his lap.



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       98.     Plaintiff, Lisa Barbounis witnessed firsthand Defendant, Greg Roman’s violent

and aggressive sexual assault of coworker, Patricia McNulty.

       99.     Plaintiff, Lisa Barbounis was also subjected to Defendant, Greg Roman’s violent

use of force to compel sexual behavior or make unwelcome sexual advances.

       100.    Plaintiff, Lisa Barbounis tried to pull away from Defendant Greg Roman.

       101.    Coworker, Patricia McNulty tried to pull away and resisted Defendant, Greg

Roman.

       102.    Defendant, Greg Roman used his size, height and strength to overpower a female

employee who worked for the MEF named Patricia McNulty.

       103.    Defendant, Greg Roman used force and did not allow Patricia McNulty to get up

or escape his grip.

       104.    Defendant, Greg Roman then began whispering in Patricia McNulty’s ear.

       105.    Patricia McNulty resisted, and made it clear that she was rejecting Defendant,

Greg Roman’s inappropriate sexual misconduct and sexual advances.

       106.    Thereafter, Plaintiff, Lisa Barbounis witnesses Defendant, Greg Roman get up

from the couch and leave the room.

       107.    Defendant, Greg Roman sexually assaulted Plaintiff’s coworker, Patricia McNulty

at the AIPAC conference which occurred in Washington D.C., when Defendant, Greg Roman

violently yanked Patricia McNulty across the couch, onto his lap, and whispered inappropriate,

unwelcome sexual advances in Ms. McNulty’s ear.

       108.    Defendant, Greg Roman put his hands on coworker, Patricia McNulty’s upper

thigh and rear-end area and used force to overpower Patricia McNulty.




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       109.      During, Plaintiff’s employment for MEF, Defendant, Greg Roman subjected

Plaintiff, Lisa Barbounis to severe and pervasive discrimination and harassment based upon

Plaintiff’s sex and gender.

       110.      Defendant, Greg Roman asked Plaintiff, Lisa Barbounis to visit his home to work

at night time.

       111.      Defendant, Greg Roman called and texted Plaintiff, Lisa Barbounis late at night.

       112.      Defendant, Greg Roman made sexually suggestive, unwelcome comments to

Plaintiff, Lisa Barbounis.

       113.      Working with Defendant, Greg Roman meant that Plaintiff, Lis Barbounis would

have to contend with Defendant, Greg Roman’s inappropriate sexually suggestive conduct and

comments.

       114.      Employees who have worked with Defendant, Greg Roman who also have stated

that working with Defendant, Greg Roman meant having to contend with Defendant, Greg

Roman’s inappropriate conduct and comments including sexually inappropriate conduct and

comments include but is in no way limited to: (1) Plaintiff, Lisa Barbounis, (2) Patricia McNulty,

(3) Marnie Meyer, (5) Caitriona Brady, (6) Delaney Yonchek, (7) Leah Merville, (8) Alana

Goodman, (9) Eman Patel, (10) Samantha Mandalas, (11) Laura Frank, (12) Lara (last name

unknown), (13) Rosie (last name unknown), and (14) Gabrielle Bloom.

       115.      At all times relevant to this civil action, Defendant, Greg Roman was Plaintiff,

Lisa Barbounis’s direct supervisor and used his supervisory and proxy authority to subject

Plaintiff to unwelcome sex and gender discrimination.




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          116.   At all times relevant to this civil action, Defendant, Greg Roman was Plaintiff,

Lisa Barbounis’s direct supervisor and used his supervisory and proxy authority to subject

Plaintiff to unwelcome sexual harassment.

          117.   At all times relevant to this civil action, Defendant, Greg Roman was Plaintiff,

Lisa Barbounis’s direct supervisor and used his supervisory and proxy authority to subject

Plaintiff to unwelcome sexual misconduct including unwelcome sexual contact of a physical

nature.

          118.   At all times relevant to this civil action, Defendant, Greg Roman was Plaintiff,

Lisa Barbounis’s direct supervisor and used his supervisory and proxy authority to subject

Plaintiff to unwelcome sexual advances including quid pro quo sexual suggestions which

Plaintiff, Lisa Barbounis rejected.

          119.   Plaintiff, Lisa Barbounis’s rejection of Defendant, Greg Roman only made

Plaintiff’s work environment more hostile as Defendant, Greg Roman reacted to Plaintiff’s

rejections by using his proxy authority to retaliate against Plaintiff, Lisa Barbounis with tangible

employment actions.

          120.   Defendant, Greg Roman threatened Plaintiff, Lisa Barbounis’s job with the MEF.

          121.   The sexual harassment to which Plaintiff, Lisa Barbounis was subjected during

her employment for MEF by Defendant, Greg Roman created a hostile work environment for

Plaintiff, Lisa Barbounis.

          122.   Defendant, Greg Roman subjected almost every female employee who he

supervised at MEF to unwelcome sexual harassment and discrimination and harassment in the

workplace due to sex and gender.




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       123.      Defendant, Greg Roman specifically used his position as a proxy for MEF to

recruit very attractive female employees and prey upon his female staff by subjecting the female

staff to unwelcome sexual advances.

       124.      Before Plaintiff, Lisa Barbounis began her employment at MEF, there were two

female employees of MEF named Laura Frank (“Laura”) and Lara (last name unknown at this

time) (“Lara).

       125.      Laura and Lara were employees of MEF. Their supervisors included Daniel

Pipes and Defendant, Greg Roman.

       126.      Defendant, Greg Roman was the direct supervisor of Laura Frank and Lara (last

name unknown).

       127.      Laura and Lara were subjected to severe and pervasive discrimination and

harassment due to their sex and gender.

       128.      Laura and Lara were subjected to retaliation when they opposed and/or reported

the severe and pervasive discrimination to which Laura and Lara were subjected during their

employment at MEF.

       129.      Laura and Lara discussed and considered initiating legal action to vindicate their

rights due to the severe and pervasive discrimination and harassment in the workplace to which

they were subjected during their employment at MEF.

       130.      Laura and Lara used instant Google messaging to discuss the unwelcome sexual

harassment to which Defendant, Greg Roman subjected Laura and Lara during their employment

at MEF.

       131.      Defendant, Greg Roman broke into Laura and Lara’s computers after work one

evening and discovered, by reading their private Google instant messaging, that Laura and Lara



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were currently discussing their legal options due to Defendant, Greg Roman’s discrimination and

harassment in the workplace due to sex and gender.

       132.    Defendant, Greg Roman discussed the instant Google messages between Laura

and Lara with Daniel Pipes.

       133.    Defendant, Greg Roman and Daniel Pipes decided to terminate both Laura and

Lara’s employment.

       134.    The termination of Laura Frank and Lara (last name unknown) created empty

positions that MEF had to staff.

       135.    Soon after Laura and Lara’s termination, Defendant, MEF hired Plaintiff, Lisa

Barbounis.

       136.    Daniel Pipes and Defendant, Greg Roman refused to investigate Laura and Lara’s

feelings that they were subjected to unlawful conduct – sexual harassment in their employment

for MEF.

       137.    Defendants refused to initiate remedial measures as a result of Laura and Lara’s

instant Google messaging. MEF did nothing to discover and remedy the severe and pervasive

discrimination and harassment in the workplace.

       138.    Daniel Pipes and Defendant, Greg Roman have initiated, implemented and

enforced policies which operate to frustrate the congressional intent of federal, state and city

anti-discrimination laws enacted to protect female employees from discrimination and

harassment in the workplace.

       139.    Daniel Pipes’ objectives, policies and procedures have always been to protect

Defendant, Greg Roman, despite ongoing continued allegations and reports of sexual harassment

involving Defendant, Greg Roman.



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       140.    Daniel Pipes has ignored, disregarded, and refused to consider protecting the

female employees who worked at the MEF.

       141.    Accordingly Daniel Pipes has expressly communicated to Defendant, Greg

Roman, Defendant, MEF and Defendant, Daniel Pipe’s policy and practice to allow, sanction,

permit and condone Defendant, Greg Roman’s discrimination and harassment of the female

employees who work at MEF.

       142.    Defendant, Greg Roman’s unlawful conduct and comments as Director of the

MEF has occurred with express authorization from Defendant, MEF and Daniel Pipes.

       143.    This authorization has resulted in female employees of MEF being subjected to

severe and pervasive sexual harassment, sexual assaults, sexual misconduct, quid pro quo sexual

harassment, and discrimination and harassment based on sex and gender.

       144.    Laura Frank and Lara (last name unknown) were unlawfully terminated in

retaliation for discussing and considering reporting Defendant, Greg Roman’s discrimination and

harassment in the workplace.

       145.    Laura and Lara were simultaneously terminated from their employment with MEF

due to their sex and gender and in retaliation for opposing and reporting discrimination and

harassment in the workplace.

       146.    Plaintiff, Lisa Barbounis began her employment soon after Laura and Lara were

unlawfully terminated from their employment by Defendant, Greg Roman, Daniel Pipes and

Defendant, MEF.

       147.    Daniel Pipes has a history of discriminatory conduct toward women based upon

their sex and gender.




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       148.   Defendant, Greg Roman also has a history of discrimination and harassment of

women based on their sex and gender.

       149.   Female employees who worked with Daniel Pipes have been subjected to ridicule,

abuse, discrimination, and harassment due to their sex and gender.

       150.   Rosie (last name unknown) (“Rosie”) was a female employee who worked at The

Middle East Forum.

       151.   Rosie worked at The Middle East Forum about one year before Plaintiff, Lisa

Barbounis.

       152.   Defendant, Greg Roman asked Rosie to transition to a position as an assistant to

Greg Roman.

       153.   Defendant, Greg Roman unlawfully targeted and terminated Rosie’s employment

due to Rosie’s membership in a protected class with the authorization, consent, knowledge, and

permission of Daniel Pipes.

       154.   Rosie abandoned her employment for MEF to avoid working closely with

Defendant, Greg Roman.

       155.   Prior to leaving her employment for MEF, Rosie said, “I will be dead before

working for Greg Roman.”

       156.   Rosie refused to work with Defendant, Greg Roman due to the severe and

pervasive discrimination and harassment of female employees and the hostile work environment

which Defendant, Greg Roman created for his female staff.

       157.   Plaintiff, Lisa Barbounis is not the only female employee who Defendant, Greg

Roman supervised who has alleged that Defendant, Greg Roman subjected her to sexual

harassment and sexual misconduct and sexually inappropriate behavior.



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       158.    Defendant, Greg Roman has subjected multiple female employees to severe and

pervasive sexual harassment.

       159.    Many of these female employees who have worked for Defendant, Greg Roman

have filed Charges of Discrimination at the EEOC to report Defendant, Greg Roman’s sexual

harassment, misconduct, and inappropriate sexual behavior.

       160.    Female employees who have reported Defendant, Greg Roman’s sexual

harassment, sexual misconduct, sexually inappropriate behavior including quid pro quo sexual

harassment, stalking like behavior, and in some cases sexual assaults, include (1) Plaintiff, Lisa

Barbounis, (2) Patricia McNulty, (3) Caitriona Brady, and (4) Delaney Yonchek.

       161.    Defendants were on notice of Defendant, Greg Roman and the risk Defendant,

Greg Roman presented for the female staff who worked with MEF.

       162.    Daniel Pipes refused to investigate.

       163.    Daniel Pipes refused to initiate prompt remedial measures.

       164.    Defendant Greg Roman gave a former intern of the Middle East Forum (named

above as Intern Number 1 – first and last name unknown) $1,500.00 in cash when interns do not

receive compensation from the MEF.

       165.    The intern voluntarily left the MEF and has stated that she left to avoid what she

characterized as future, inappropriate sexual advances visited upon her by Defendant, Greg

Roman. She said she could see it coming.

       166.    Defendant, Greg Roman also called and texted Plaintiff, Lisa Barbounis at

inappropriate times.




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       167.       Defendant, Greg Roman also invited Plaintiff, Lisa Barbounis to him home to

work, however, Plaintiff, Lisa Barbounis never visited Defendant, Greg Roman’s home and

made sure Defendant, Greg Roman understood she never would visit his home.

       168.       Plaintiff, Lisa Barbounis and coworker, Patricia McNulty’s description of

Defendant, Greg Roman’s sexual harassment mirrors accounts of several other female employees

who Defendant, Greg Roman supervised and sexually harassed.

       169.       Defendant, Greg Roman’s method of operation is that of a sexual predator.

       170.       Defendant, Greg Roman uses his position and proxy-authority as a supervisor to

recruit very attractive female employees to staff the MEF.

       171.       Defendant, Greg Roman then uses his proxy authority to pressure female

employees to have sex with him.

       172.       Defendant, Greg Roman begins to call and text the female staff at night and on

weekends.

       173.       Defendant, Greg Roman invites female staff to visit his home or hotel room to get

work done. Sometimes Defendant, Greg Roman will say that there is some work related

documents at his home or hotel room and suggest that the female employee stop by.

       174.       Defendant, Greg Roman uses his size and height to make female employees feel

intimidated, threatened and uncomfortable.

       175.       In almost every case, Defendant, Greg Roman offers female employees the hope

of help, support, and assistance from as a proxy and supervisor of MEF. Then Defendant, Greg

Roman attempts to leverage the female employees’ hope of help, support, and assistance into sex

or sexual acts.




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       176.    Defendant, Greg Roman’s sexual harassment of female employees includes

offering to work with female staff at his personal home or hotel room.

       177.    Defendant, Greg Roman uses work assignments to leverage and lure female

employees to his home and then propositions the female employees for sex and sexual favors.

       178.    Defendant, Greg Roman also sexually harasses female staff by luring female

employees to his hotel rooms. Once at his hotel room, Defendant, Greg Roman attempts to

trade work for sex.

       179.    Defendant, Greg Roman’s sexual harassment and quid pro quo sexual misconduct

is not limited to the MEF’s employees. Defendant, Greg Roman also uses his position as

Director of the MEF to proposition female individuals who Defendant, Greg Roman works with

in other organizations.

       180.    For example, as Director of the MEF, Defendant, Greg Roman often works with

reporters from the Washington Post and Washington Examiner.

       181.    The Middle East Forum is a political organization. Accordingly, The Middle

East Forum focuses tremendous resources in Washington D.C.

       182.    The MEF has to work closely with the press in order to promote and communicate

MEF objectives, endeavors, and messaging.

       183.    Defendant, Greg Roman used his position and power as Director of the Middle

East Forum to develop relationships with news reporters.

       184.    Defendant, Greg Roman has attempted to leverage information Defendant, Greg

Roman knows as Director of the MEF for sex with reporters; or sex for stories.

       185.    Defendant, Greg Roman has sexually harassed and has pressured female reporters

into trading sex in a quid pro quo arrangement for news-stories.



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        186.    Defendant, Greg Roman used his position as a Director of the Middle East Forum

to develop relationships with prominent news outlets like the Washington Post and the

Washington Examiner.

        187.    Defendant, Greg Roman specifically targeted and preyed upon the women who he

supervised as Director of the MEF, however, Defendant, Greg Roman also used his position and

proxy authority to leverage sex from contacts in the press.

        188.    The Middle East Forum and Defendant, Greg Roman works directly with

lobbyists, politicians, news outlets, reporters, pundits, and many other organizations and

individuals in Washington D.C.

        189.    The Middle East Forum spends time, resources, and energy working with press

agents, reporters, and television personalities.

        190.    Defendant, Greg Roman has used his connections with reporters in his attempts to

trade sex for stories.

        191.    Defendant, Greg Roman has pressured female reporters to trade sex for stories in

a quid pro quo arrangement.

        192.    Defendant, Greg Roman was in Washington D.C., and encountered a female

member of the press at a restaurant and bar. This was a female member of the press who

Defendant Greg Roman met in his position as Director of the Middle East Forum.

        193.    Defendant, Greg Roman used his position as Director of the Middle East Forum

to generate a relationship with this female member of the press and they had worked with one

another several times in the past.




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        194.       Defendant, Greg Roman encountered this female member of the press and

targeted and preyed upon this female member of the press and propositioned her in an attempt to

trade Middle East Forum stories for sex.

        195.       Defendant, Greg Roman lured the female employee outside of the restaurant and

bar and exposed his penis in front of the female member of the press.

        196.       Defendant, Greg Roman then ordered the female member of the press to come to

his hotel room within the next hour.

        197.       Defendant, Greg Roman pressured the female member of the press to engage in

sexual acts with Defendant, Greg Roman in exchange for a good story.

        198.       When the female member of the press made it clear that she had no interest in

trading sex for stories, Defendant, Greg Roman became abusive and aggressive and began to

threaten the female member of the press.

        199.       Defendant, Greg Roman exposed his penis to a reporter and propositioned the

reporter for sex.

        200.       Defendant, Greg Roman threatened the reporter when the reporter refused to trade

sex for stories.

        201.       Defendant, Greg Roman yelled across the bar and restaurant telling this female

member of the press that she had one half hour to visit his hotel room or he would “give the story

to the Washington Post.”

        202.       The Washington Post was a primary competitor organization of the organization

with whom the female member of the press worked.




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       203.    Defendant Greg Roman’s threat to give the story to the Washington Post was

intended to coerce the female member of the press to change her mind and agree to the quid pro

quo sexual arrangement; selling sex for stories from the Director of the MEF.

       204.    This is just another example of Defendant, Greg Roman’s sexual harassment,

sexual misconduct, and sexually inappropriate behavior to which Defendant, Greg Roman

subjected female individuals which whom Defendant, Greg Roman worked.

       205.    Defendant, Greg Roman has also subjected Plaintiff, Lisa Barbounis’s coworker,

Marnie Meyer to severe and pervasive discrimination and harassment in the workplace.

       206.    Marnie Meyer is the Director of Human Resources for Defendant, MEF.

       207.    Defendant, Greg Roman has sexually harassed Marnie Meyer and has attempted

to lure Marnie Meyer across national borders with the intention of uses fraud, physical force

and/or coercion in order to engage Marnie Meyer in sexual acts.

       208.    Defendant, Greg Roman expressly conditioned Marnie Meyer with a company

trip to Israel, stating that Marnie Meyer could only accompany Defendant, Greg Roman if she

agreed to share an Airbnb.

       209.    Defendant, Greg Roman refused to allow Marnie Meyer to travel across national

borders to Israel unless Marnie Meyer shared the same living space with Defendant, Greg

Roman.

       210.    Defendant, Marnie Meyer refused to share an Airbnb with Defendant, Greg

Roman due to the obvious implication in the inappropriate condition.

       211.    Defendant, Greg Roman had already subjected Marnie Meyer to severe and

pervasive discrimination and harassment in the workplace based upon sex and gender.




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          212.    Marnie Meyer was also subjected to discrimination and harassment from

Defendant Greg Roman.

          213.    Marnie Meyer was harassed and sexually harassed by Defendant, Greg Roman to

such an extent that Marnie Meyer had to notify Defendant, Greg Roman, “I am never going to

sleep with you.”

          214.    Accordingly, Marnie Meyer refused to travel across national borders with

Defendant, Greg Roman to Israel unless Marnie Meyer was allowed to book her own hotel room.

          215.    When Marnie Meyer insisted on the condition that she be allowed to book her

own hotel room, Defendant, Greg Roman refused to allow Marnie Meyer to accompany him to

Israel.

          216.    Therefore, Defendant, Greg Roman withdrew the opportunity for Marnie Meyer

to travel to Israel.

          217.    After eliminating Marnie Meyer, Defendant, Greg Roman continued his objective

to find someone to lure across national borders in order to use fraud, force, or coercion to engage

in sexual acts.

          218.    Defendant, Greg Roman asked Plaintiff, Lisa Barbounis to travel to Israel with

him.

          219.    Defendant, Greg Roman instructed Plaintiff, Lisa Barbounis not to tell anyone she

was coming to Israel with him.

          220.    Defendant, Greg Roman provided Plaintiff, Lisa Barbounis the same quid pro quo

arrangement and conditioned the trip to Israel on sharing a living space with Defendant, Greg

Roman.




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        221.    Defendant, Greg Roman informed Plaintiff, Lisa Barbounis that she could only

travel across national borders to Israel if Plaintiff, Lisa Barbounis agreed to share an Airbnb.

        222.    Plaintiff, Lisa Barbounis has always wanted to travel to Israel.

        223.    Accordingly, Defendant, Greg Roman used Plaintiff, Lisa Barbounis desire to see

Israel to lure her across national borders with the intent of using fraud, coercion and/or force to

engage Plaintiff, Lisa Barbounis in sexual acts.

        224.    Accordingly, in April 2018, Defendant, Greg Roman and Plaintiff, Lisa Barbounis

traveled to Israel.

        225.    Defendant, Greg Roman lured Plaintiff, Lisa Barbounis to Israel by promising

that the work trip would be an invaluable opportunity for Plaintiff, Lisa Barbounis.

        226.    Strangely, Defendant, Greg Roman ordered Plaintiff, Lisa Barbounis not to tell

anyone that Plaintiff, Lisa Barbounis was accompanying Defendant, Greg Roman on the trip.

        227.    Defendant Greg Roman used his influence, seniority, and proxy authority, to lure

Plaintiff, Lisa Barbounis across national borders to Israel with the intent of subjecting Plaintiff,

Lisa Barbounis to sexual advances and sex.

        228.    Upon arrival, Plaintiff was surprised when she discovered that Defendant, Greg

Roman had booked a small space with only one bathroom.

        229.    Because of Defendant, Greg Roman’s sexual advances, sexual harassment, sexual

assault, and sexually inappropriate behavior, Plaintiff, Lisa Barbounis spent much of the time in

Israel scared and emotionally distressed.

        230.    Defendant, Greg Roman would not allow Plaintiff, Lisa Barbounis to travel to

Israel unless she agreed to share an Airbnb with him.




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       231.    Plaintiff, Lisa Barbounis agreed on the condition that they book a two-bedroom

and two-bathroom Airbnb. There was only one bathroom upon arrival.

       232.    Defendant, Greg Roman said to Plaintiff, Lisa Barbounis, “I really thought this

place had two bathrooms.” The Airbnb clearly states the number of bathrooms on the cover

page of the advertisement for the room.

       233.    Defendant, Greg Roman lured Plaintiff, Lisa Barbounis to Israel based on a

promise and assurance that the Airbnb had both two bathrooms and two bedrooms.

       234.    Upon arrival, Defendant, Greg Roman was ready to explain why the Airbnb did

not conform to the requirements Plaintiff, Lisa Barbounis provided.

       235.    Defendant, Greg Roman specifically coerced Plaintiff, Lisa Barbounis into

sharing an Airbnb with him and threatened to withhold the business trip and opportunity

altogether if Plaintiff, Lisa Barbounis did not agree to put herself in a sexually vulnerable

position by sharing the space.

       236.    The level of Plaintiff, Lisa Barbounis’s discomfort, fear, and apprehension during

the trip to Israel is evidenced by text message communications between Plaintiff, Lisa Barbounis

and Patricia McNulty during the trip.

       237.    While in Israel, Plaintiff, Lisa Barbounis texted, “I am going to put a knife in my

room.” This message indicated that Plaintiff, Lisa Barbounis did not feel safe in the same living

space with Defendant, Greg Roman.

       238.    While in Israel, Plaintiff, Lisa Barbounis texted, “He’s creepy. Talking about

stuff he shouldn’t be and too drunk.”

       239.    While in Israel, Plaintiff, Lisa Barbounis texted, “I’m so uncomfortable.”

       240.    While in Israel, Plaintiff, Lisa Barbounis texted, “I can’t wait to come home.”



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       241.    While in Israel, Plaintiff, Lisa Barbounis texted, “He drank too much”

       242.    While in Israel, Plaintiff, Lisa Barbounis texted, “The shit he is saying is so

strange I can’t type it all anyway.”

       243.    While in Israel, Plaintiff, Lisa Barbounis texted, “Talking about women and his

wife and conquests and graphic.”

       244.    While in Israel, Plaintiff, Lisa Barbounis texted, “He said he fucked Lea

(indicating MEF intern Leah Merville) and tried to meet up with her again and it didn’t work

out…” This test message referred to Defendant, Greg Roman’s attempts to meet with former

MEF intern Leah Merville who lived in Israel at that time. Defendant, Greg Roman

propositions Leah Merville for sex and Leah Merville rejected Defendant, Greg Roman’s

advances.

       245.    Defendant, Greg Roman spent the Israel trip attempting to coerce Plaintiff, Lisa

Barbounis into engaging in sexual acts with him. Defendant, Greg Roman acted like sex with

Plaintiff, Lisa Barbounis was a certainty because they were sharing a room.

       246.    Defendant, Greg Roman attempted to engage Plaintiff, Lisa Barbounis in

conversations that were about sex or suggested sex multiple times throughout the trip.

       247.    Defendant, Greg Roman subjected Plaintiff, Lisa Barbounis to quid pro quo

sexual harassment by conditioning the trip on Plaintiff sharing the Airbnb with intention of using

the opportunity to engage Plaintiff is sexual advances.

       248.    Before the Israel trip, Defendant, Greg Roman instructed Plaintiff, Lisa Barbounis

not to tell anyone that she was coming on the trip.

       249.    Defendant, Greg Roman said, “Don’t tell your family. Don’t tell Daniel

(indicating Daniel Pipes). Don’t tell anyone in the office.”



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        250.    While on the trip, Plaintiff, Lisa Barbounis was sitting a couch in the living space.

The couch was positioned on the terrace with large sliding glass doors leading out.

        251.    Defendant Gregg Roman asked Plaintiff, Lisa Barbounis to join him while he

smoked a cigarette.

        252.    Plaintiff, Lisa Barbounis joined Defendant, Greg Roman on the terrace and sat

down on the far end of one side of the couch.

        253.    Defendant, Greg Roman sat down next to Plaintiff Lisa Barbounis. Defendant,

Greg Roman then put his legs on the couch and his feet under Plaintiff Lisa Barbounis’s butt.

        254.    Defendant, Greg Roman used his feet to unlawfully subject Plaintiff, Lisa

Barbounis to unwelcome sexually inappropriate touching.

        255.    Defendant, Greg Roman’s feet were right under Plaintiff, Lisa Barbounis’s butt,

and this would have been an intimate touching had it been consensual. While his feet were in

Plaintiff’s butt, Defendant, Greg Roman said: “now that my foot is on your ass we have reached

a new level.”

        256.    Plaintiff Lisa Barbounis was highly uncomfortable. So she got up, walked away

and tried to laugh it off.

        257.    Plaintiff Lisa Barbounis was highly uncomfortable by this unwelcome sexual

touching.

        258.    The next evening, Defendant, Greg Roman left the Airbnb to socialize and drink

at bars and/or restaurants.

        259.    Plaintiff Lisa Barbounis stayed home to work and finish a Power Point

presentation. This is evidence by text message communications where Plaintiff, Lisa Barbounis

writes, “He just came back I stayed in.”



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       260.    Defendant, Greg Roman arrived at the room and confessed to Plaintiff Lisa

Barbounis that he had a sexual relationship with a former MEF employee/intern named Leah

Merville.

       261.    Upon his return, Defendant, Greg Roman informed Plaintiff, Lisa Barbounis that

Defendant, Greg Roman attempted to meet Leah Merville that evening. Defendant, Greg

Roman also said he visited his ex-girlfriend while he was out.

       262.    Defendant, Greg Roman indicated that he had propositioned both Leah Merville

and his ex-girlfriend for sex and was rejected both times.

       263.    Defendant, Greg Roman was infuriated, and began behaving in a sexually

inappropriate and aggressive manner by pacing back and forth and complaining loudly about his

sexual frustrations.

       264.    Plaintiff, Lisa Barbounis maintained a text message conversation with Patricia

McNulty and referenced Defendant, Greg Roman’s inappropriate conduct and comments.

       265.    Plaintiff, Lisa Barbounis texted, “He said he fucked Lea and tried to meet up with

her again and it didn’t work out.”

       266.    When Leah Merville was employed by MEF, Defendant, Greg Roman, as

Director of the MEF, held supervisory authority over Leah Merville.

       267.    Defendant, Greg Roman lured Leah Merville to his hotel room in Israel and used

his proxy authority as a supervisor and Director of The Middle East Forum to convince Leah

Merville to engage in sexual intercourse.

       268.    Leah Merville was an intern in Pennsylvania at MEF. When her internship

ended, Defendant, Greg Roman helped Leah Merville obtain an internship in Israel.




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       269.    Defendant, Greg Roman explained to Plaintiff, Lisa Barbounis that he suggested

that Leah Merville visit his hotel room, to sign certain paperwork.

       270.    Defendant, Greg Roman said, I will sign it and give it to you. The paperwork

was apparently required paperwork for Leah Merville’s completion of her internship.

       271.    Leah Merville is a young girl who was an intern at MEF. Leah Merville is from

France and was in a strange country with no good friends or family nearby. Defendant, Greg

Roman used his position of authority to engage Leah Merville in sexual intercourse.

       272.    Defendant, Greg Roman told Leah Merville to come to his hotel room because

that is where he had the paperwork that Leah Merville needed.

       273.    During the next trip to Israel, when Plaintiff, Lisa Barbounis attended, Defendant,

Greg Roman attempted to engage Leah Merville in sexual intercourse again. This time Leah

Merville rejected Defendant, Greg Roman.

       274.    Defendant, Greg Roman sexually harassed female employee of the MEF and

attempted to use fraud, coercion, and/or force to lure female employees to his room and/or to

hotel rooms including Airbnb’s.

       275.    After attempting to engage Leah Merville in sexual intercourse, Defendant, Greg

Roman arrived back at the Airbnb, where Plaintiff, Lisa Barbounis remained in order to complete

work and finish a Power Point.

       276.    Defendant, Greg Roman then began to subject Plaintiff, Lisa Barbourins to severe

sexual harassment and sexual misconduct.

       277.    Defendant, Greg Roman said to Plaintiff, Lisa Barbounis, Leah Merville gives a

really great blowjob.

       278.    Defendant, Greg Roman said, “her body is so tight.”



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       279.    Defendant, Greg Roman continued to describe in detail his sexual acts to Plaintiff

Lisa Barbounis.

       280.    Plaintiff Lisa Barbounis was highly offended and scared and no longer felt

comfortable alone with Defendant, Greg Roman.

       281.    When Plaintiff, Lisa Barbounis received a text asking whether she thought that

Defendant, Greg Roman would try to “touch you kind of way?” Plaintiff, Lisa Barbounis

responded, “Like maybe. Enough doubt to make me uncomfortable.”

       282.    Plaintiff, Lisa Barbounis’s text history is available and will be produced to

substantiate the allegations contained in this Complaint.

       283.    Defendant, Greg Roman subjected Plaintiff, Lisa Barbounis to unwelcome sexual

advances.

       284.    Defendant, Greg Roman told Plaintiff, Lisa Barbounis, “I just need a sexual

release.”

       285.    Defendant, Greg Roman informed Plaintiff Lisa Barbounis, “I really need a

blowjob.”

       286.    The entire time that Defendant, Greg Roman spoke to Plaintiff Lisa Barbounis, he

aggressively paced the room and said, I just need a blow job. I just need a release.

       287.    Plaintiff Lisa Barbounis was scared, offended, harassed, and creeped out.

       288.    Defendant, Greg Roman’s aggressive sexual conduct escalated.

       289.    Defendant, Greg Roman’s voice got louder as he continued to visit his sexual

advances upon Plaintiff Lisa Barbounis.




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       290.    When Plaintiff, Lisa Barbounis and Defendant, Greg Roman returned to the

United States from their trip to Israel, Defendant, Greg Roman continued his inappropriate

unwelcome sexual misconduct and sexual harassment.

       291.    Defendant, Greg Roman also subjected Plaintiff, Lisa Barbounis to discrimination

based on sex and gender and was violently aggressive toward female staff members including

Plaintiff, Lisa Barbounis.

       292.    Defendant, Greg Roman screamed at Plaintiff, Lisa Barbounis.

       293.    Defendant, Greg Roman cursed at Plaintiff, Lisa Barbounis.

       294.    Defendant, Greg Roman did not treat Plaintiff’s similarly situated male coworkers

in this discriminatory, abusive, hostile and intolerable manner.

       295.    Defendant, Greg Roman also subjected Plaintiff’s female coworkers to

discrimination and harassment due to their sex and gender.

       296.    Defendant, Greg Roman also subjected coworker, Patricia McNulty to severe and

pervasive discrimination and harassment based upon her sex and gender.

       297.    Defendant, Greg Roman also subjected Plaintiff’s coworker, Caitriona Brady to

severe and pervasive discrimination and harassment based upon her sex and gender.

       298.    Defendant, Greg Roman also subjected Plaintiff’s coworker, Delaney Yonchek to

severe and pervasive discrimination and harassment based upon her sex and gender.

       299.    Defendant, Greg Roman also subjected Plaintiff’s coworker, Marnie Meyer to

severe and pervasive discrimination and harassment based upon her sex and gender.

       300.    At all times, Defendant, Greg Roman was Plaintiff Lisa Barbounis’s direct

supervisor and held proxy authority as the number two executive of the MEF.




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       301.       Defendant, Greg Roman has subjected several other female employees who

worked at the MEF to discrimination and harassment based upon their sex and gender.

       302.       Defendant, Greg Roman development, implemented and enforced policies,

procedures and protocols designed to limit employees’ access to President Daniel Pipes.

       303.       These policies which were strictly enforced which eliminated employees’ ability

to talk directly to Daniel Pipes essentially set of Defendant, Greg Roman as the very top MEF

employee who employees could go to for assistance.

       304.       Defendant, Greg Roman developed and enforced these policies with the intention

of limiting Plaintiff, Lisa Barbounis’s ability to report Defendant, Greg Roman’s unwelcome

sexual harassment and sexual misconduct and comments.

       305.       Defendant, Greg Roman had developed, implemented and enforced policies

which were approved by Daniel Pipes whereby employees including Plaintiff, Lisa Barbounis

were not allowed to go directly to Daniel Pipes to express concerns or obtain assistance.

       306.       After the trip to Israel, Defendant, Greg Roman made inappropriate comments to

Plaintiff, Lisa Barbounis including but not limited to, “you know you are my work wife, right.”

       307.       After the trip to Israel, Defendant, Greg Roman made inappropriate comments to

Plaintiff, Lisa Barbounis including but not limited to, “I got your back you know I will always

take care of you.”

       308.       After the trip to Israel, Defendant, Greg Roman made inappropriate comments to

Plaintiff, Lisa Barbounis including but not limited to, “we are at a new level we have to take care

of each other.”




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       309.    Defendant, Greg Roman called Lisa Barbounis into his office and ordered

Plaintiff to sit next to him and share the computer screen. Defendant, Greg Roman then made

Plaintiff, Lisa Barbounis view inappropriate pictures on his computer.

       310.    Defendant, Greg Roman showed Plaintiff pictures of girls that he had claimed to

have sexual intercourse with.

       311.    Defendant, Greg Roman made comments about women’s’ looks, saying, Look

how hot this one it, look how hot that one is.

       312.    Pursuant to the sexual advances described above and the assault on coworker,

Patricia McNulty, Defendant, Greg Roman began subjecting Plaintiff Lisa Barbounis to

discrimination and harassment in the office based upon Plaintiff’s sex and gender.

       313.    This discrimination and harassment escalated significantly after the Israel trip and

after Plaintiff, Lisa Barbounis rejected Defendant’s Greg Roman’s unwelcome sexual advances.

       314.    Defendant, Greg Roman followed Plaintiff Lisa Barbounis around the office.

       315.    Defendant, Greg Roman used his size and height to intimidate Plaintiff, Lisa

Barbounis.

       316.    Defendant, Greg Roman entered Plaintiff Lisa Barbounis’ office when she was

not present and explored her computer including personal emails, chat history, and internet

browser history.

       317.    This is the same conduct which Defendant, Greg Roman subjected Laura and

Lara and led to Laura and Lara’s termination.

       318.    Defendant, Greg Roman undertook to discriminate and harass female staff,

including subjecting female staff to sexual harassment and sexual misconduct with the express

understanding that Daniel Pipes would protect Defendant, Greg Roman.



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       319.    Defendant, Greg Roman asked other employees including Marnie Meyer to spy

on Plaintiff Lisa Barbounis.

       320.    Defendant, Greg Roman stalked Plaintiff, Lisa Barbounis while Plaintiff worked.

Defendant, Greg Roman counted and tracked the number of times that Plaintiff used the

bathroom.

       321.    Defendant, Greg Roman sat and stared at Plaintiff, Lisa Barbounis using the

camera system and made comments to Plaintiff, Lisa Barbounis to communicate to Plaintiff, Lisa

Barbounis that she was being watched.

       322.    Defendant, Greg Roman subjected Plaintiff to severe and pervasive discrimination

and harassment based upon her sex and gender.

       323.    This discrimination and harassment was evident in the way that Defendant, Greg

Roman spoke to Plaintiff, the assignments he required Plaintiff to complete, the tone of voice he

used, body language, expressions, use of language and cursing, and other threatening conduct.

       324.    Defendant, Greg Roman created a hostile work environment for Plaintiff, Lisa

Barbounis. The work environment was severe and pervasive.

       325.    Plaintiff reported the discrimination and harassment to which she was subjected

by Defendant, Greg Roman.

       326.    Plaintiff, Lisa Barbounis notified Marnie Meyer who was the Director of Human

Resources.

       327.    Marnie Meyer prepared a handwritten letter addressed to Daniel Pipes and

provided the letter on November 1, 2018.




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        328.       Marnie Meyer notified Daniel Pipes that Defendant, Greg Roman was using his

supervisory authority as Director of the MEF to “railroad” Plaintiff, Lisa Barbounis and “set her

up for failure.”

        329.       Defendant, Greg Roman said to Marnie Meyer that he could get Plaintiff, Lisa

Barbounis to drop complaints and reports of Defendant, Greg Roman.

        330.       Marnie Meyer also reported a hostile work environment which was created by

Defendant, Greg Roman.

        331.       Marnie Meyer also reported to Daniel Pipes that Defendant, Greg Roman had sex

with an MEF intern named Leah Merville. Marnie Meyer reported that Leah Merville was

eighteen (18) years old at the time, that Defendant, Greg Roman had sex with Leah Merville in a

hotel room in Israel, at a time when Leah Merville needed Defendant, Greg Roman to sign

paperwork for her. After reporting this to Daniel Pipes, Marnie Meyer reported that this was

just “the tip of the iceberg.”

        332.       Marnie Meyer also explained that she reported Defendant, Greg Roman’s

unlawful discrimination and harassment with handwritten letters because Defendant, Greg

Roman used the knowledge he gained as Director of the MEF, including secure passwords to

computers, to spy on employees emails and files. Importantly, this is what led to Laura Frank

and Lara (last name unknown)’s termination.

        333.       Accordingly, Marnie Meyer handwrote her reports to Daniel Pipes because she

was scared to create an electronic record that could be accessed by Defendant, Greg Roman.

        334.       Marnie Meyer’s fear of creating an electronic record was directly due to

Defendant, Greg Roman’s conduct including stalking and spying.




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       335.    Daniel Pipes spoke to Plaintiff, Lisa Barbounis about Plaintiff’s reports of

discrimination and harassment in the workplace.

       336.    Plaintiff reported Defendant, Greg Roman’s sexual harassment and sexual

misconduct during the Israel trip.

       337.    Plaintiff, Lisa Barbounis also notified and reported Defendant, Greg Roman’s

sexual harassment, sexual misconduct and sexual assault during the AIPAC Conference.

       338.    Plaintiff, Lisa Barbounis described to Daniel Pipes the way that Defendant, Greg

Roman’s behavior changed significantly after Plaintiff rejected his unwelcome sexual advances.

       339.    Plaintiff, Lisa Barbounis explained that Defendant, Greg Roman was causing a

hostile work environment.

       340.    In addition to the reports of discrimination and harassment which Plaintiff

provided, several other employees at the Middle East Forum also spoke to Daniel Pipes on

November 1, 2018.

       341.    Marnie Meyer made a report to notify Daniel Pipes about Defendant, Greg

Roman’s sexual harassment, sexual misconduct, and/or gender and sex discrimination.

       342.    Patricia McNulty made a report to notify Daniel Pipes about Defendant, Greg

Roman’s sexual harassment, sexual misconduct, and/or gender and sex discrimination.

       343.    Caitriona Brady made a report to notify Daniel Pipes about Defendant, Greg

Roman’s sexual harassment, sexual misconduct, and/or gender and sex discrimination.

       344.    Delaney Yonchek made a report to notify Daniel Pipes about Defendant, Greg

Roman’s sexual harassment, sexual misconduct, and/or gender and sex discrimination.




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         345.   Prior to November 1, 2018, Daniel Pipes was already on express and actual notice

regarding Defendant, Greg Roman’s sexual harassment, sexual misconduct and sex and gender

discrimination.

         346.   Prior to November 1, 2018, and by at least December 2016, Daniel Pipes was

notified about a Charge of Discrimination filed with the Equal Employment Opportunity

Commission alleging that Defendant, Greg Roman subjected female employees to sexual

harassment and sexual misconduct.

         347.   Daniel Pipes was in possession of and had express and actual knowledge about

numerous reports of Defendant, Greg Roman’s sexual harassment and sexual misconduct to

which Defendant, Greg Roman subjected female employees who worked at The Middle East

Forum.

         348.   Daniel Pipes remained loyal to Defendant, Greg Roman, who has been accused of

preying on female employees of The Middle East Forum for at least five (5) years.

         349.   At every opportunity, Daniel Pipes has introduced policies, procedures, and

protocols designed to punish the female employees of The Middle East Forum who have claimed

abuse and sexual abuse, while rewarding the individual accused of abusing these same female

employees.

         350.   Had Daniel Pipes considered and acted in accordance with federal, state and local

anti-discrimination laws, Plaintiff, Lisa Barbounis would never have been subjected to severe

and pervasive discrimination and harassment in the workplace.

         351.   Due to Daniel Pipes refusal to investigate and remediate earlier reports of

discrimination and harassment in the workplace, Plaintiff, Lisa Barbounis and many other of




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Plaintiff’s female coworkers were subjected to a campaign of discrimination and harassment due

to their sex and gender.

       352.      Had Daniel Pipes considered and acted in accordance with laws aimed at

protecting women from sexual harassment in the workplace, he would have investigated

Defendant, Greg Roman as early as 2016 and prompt remedial measures would have been

implemented to ameliorate and/or eliminate completely the future sexual harassment and sexual

misconduct that occurred in 2018 to Plaintiff, Lisa Barbounis.

       353.      Defendant Daniel Pipes held a group meeting on November 1, 2018, during

which, Plaintiff, Lisa Barbounis, Patricia McNulty, Marnie Meyer, Caitriona Brady, and Delaney

Yonchek all expressed grave concerns regarding Defendant, Greg Roman’s discrimination and

harassment of the female staff.

       354.      During the November 1, 2018 meeting, Daniel Pipes was notified about the sexual

assault in Washington D.C., during the AIPAC Conference., when Defendant, Greg Roman

forcefully, violently, and aggressively picked Patricia McNulty up by her upper thigh and back-

side, dropped her on his lap, and suggested that Ms. McNulty engage in sexual acts with

Defendant, Greg Roman.

       355.      During the November 1, 2018 meeting, Plaintiff, Lisa Barbounis reported the

sexual harassment and sexual misconduct and sexual assault that occurred across national

borders in Israel when Defendant, Greg Roman subjected Plaintiff, Lisa Barbounis to unwelcome

lewd sexual advances including unwelcome sexual touching.

       356.      November 1, 2018, The Middle East Forum’s female staff informed Daniel Pipes

about Defendant, Greg Roman’s ongoing severe and pervasive discrimination and harassment in

the workplace.



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          357.   Daniel Pipes responded to the reports of sexual harassment, sexual misconduct,

and sexual assaults by telling Plaintiff, Lisa Barbounis, Marnie Meyer, Patricia McNulty,

Caitriona Brady, and Delaney Yonchek that Defendant, Greg Roman’s conduct was not that big

a deal.

          358.   Daniel Pipes suggested that because priests who molest children were permitted

by the Catholic Church to remain priests, Defendant, Greg Roman should be permitted to

continue his employment at the MEF.

          359.   Daniel Pipes said, “priests have been accused of more and not lost their jobs.”

          360.   Daniel Pipes did not apologize for the years of abuse described and reported by

his female staff on November 1, 2018.

          361.   Daniel Pipes notified the female staff of The Middle East Forum including

Plaintiff, Lisa Barbounis, Marnie Meyer, Patricia McNulty, Caitriona Brady, and Delaney

Yonchek that The Middle East Forum maintains standards which informs when discipline for

sexual harassment in warranted.

          362.   Daniel Pipes then told his female staff of The Middle East Forum that Defendant,

Greg Roman’s conduct and comments over the years had not risen to the level where discipline

was warranted.

          363.   Daniel Pipes’ conclusion that Defendant, Greg Roman’s conduct and comments

had not risen to the level where discipline was warranted was based upon MEF policies which

Daniel Pipes claimed supported his conclusions.

          364.   Daniel Pipes’ conclusions that Defendant, Greg Roman’s conduct and comments

had not risen to the level where discipline was warranted was in response to learning that a




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female staff member of The Middle East Forum named Patricia McNulty had been sexually

assaulted.

       365.     Daniel Pipes’ conclusions that Defendant, Greg Roman’s conduct and comments

had not risen to the level where discipline was warranted was in response to learning that a

female staff member of The Middle East Forum named Marnie Meyer had been sexually

harassed.

       366.     Daniel Pipes’ conclusions that Defendant, Greg Roman’s conduct and comments

had not risen to the level where discipline was warranted was in response to learning that a

female staff member of The Middle East Forum, Plaintiff, Lisa Barbounis, had been subjected to

unwelcome sexual touching, sexual assault, sexual harassment, and quid pro quo sexual

propositions.

       367.     Daniel Pipes’ conclusions that Defendant, Greg Roman’s conduct and comments

had not risen to the level where discipline was warranted was in response to learning that the

Director of the MEF, Defendant, Greg Roman engaged an eighteen (18) year old female intern

named Leah Merville in sexual intercourse in his hotel room, and that he had lured Ms. Merville

to the hotel room with the promise of signing important paperwork which Ms. Merville required.

       368.     Accordingly Daniel Pipes initiated no discipline.

       369.     Plaintiff Lisa Barbounis, Marnie Meyer, Patricia McNulty were instructed to work

from home the following Friday.

       370.     Daniel Pipes also instructed Plaintiff Lisa Barbounis, Marnie Meyer, Patricia

McNulty to execute new Nondisclosure Agreements.

       371.     Plaintiff, Lisa Barbounis refused to sign.




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        372.   Saturday, November 3, 2018, Plaintiff Lisa Barbounis received an email from

Daniel Pipes instructing Plaintiff to attend a group meeting scheduled Monday, November 5,

2018.

        373.   This memorandum was sent as a group email to Plaintiff and her coworkers.

        374.   Defendant, Greg Roman was included in the email and invited to attend the group

meeting.

        375.   Defendant, Greg Roman was specifically asked to attend the group meeting.

        376.   It was not until Monday, November 5, 2018 when a call was made to Defendant,

Greg Roman asking that he stay home. This call was made due to the female staff members all

expressing extreme discomfort at the idea of holding a group meeting about Defendant, Greg

Roman with Defendant, Greg Roman.

        377.   Defendant, Greg Roman’s sister attended the meeting and spent the entire meeting

arguing in support of her brother.

        378.   Defendant, Greg Roman’s sister said that the woman who Defendant, Greg

Roman sexually harassed were at fault for wearing revealing clothes.

        379.   The November 5, 2018 meeting was indicative of Daniel Pipes utter failure to

bring his organization into compliance with state and federal anti-discrimination laws.

        380.   After the November 5, 2018 meeting, Daniel Pipes decided that Defendant, Greg

Roman would retain his position, title, pay, and employment with the Middle East Forum.

        381.   Daniel Pipes notified Plaintiff, Lisa Barbounis that Defendant, Greg Roman

would work from home and that Plaintiff would no longer directly report to Defendant Greg

Roman.




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       382.    Daniel Pipes’ claimed that Plaintiff, Lisa Barbounis would no longer be forced to

work with Defendant, Greg Roman.

       383.    Daniel Pipes did not enforce his self-prescribed remedial measures and Plaintiff,

Lisa Barbounis was forced to continue working with Defendant, Greg Roman.

       384.    For the next few months, Plaintiff, Lisa Barbounis was forced to continue

working with Defendant, Greg Roman.

       385.    The only change was that Defendant, Greg Roman did not visit the office.

       386.    Defendant, Greg Roman’s work duties, responsibilities, and authority remained

unchanged.

       387.    Plaintiff, Lisa Barbounis continued to be subjected to discrimination and

harassment due to her sex and gender. The big difference was that Defendant, Greg Roman set

out on a mission of retaliation aimed at the female employees who reported his unlawful

conduct.

       388.    Plaintiff was still subjected to the same discrimination and harassment in the

workplace.

       389.    In fact, the discrimination and harassment got worse, as after the November 5,

2018 meeting, Defendant, Greg Roman unleashed a campaign of retaliation against Plaintiff,

Lisa Barbounis, Patricia McNulty, Marnie Meyer, Caitriona Brady, and Delaney Yonchek.

       390.    Defendant, Greg Roman openly voiced his retaliatory intent.

       391.    Defendant, Greg Roman targeted the employees who Defendant, Greg Roman

called “the usurpers.”

       392.    Defendant Greg Roman also called the female staff who reported his sexual

harassment and sexual misconduct, “backstabbers.”



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       393.   Defendant, Greg Roman notified Defendant, Mathew Bennett, “they are all

usurpers and I will never work with usurpers.”

       394.   Even more recently, Defendant, Greg Roman announced on a radio show that “all

usurpers should be crushed.”

       395.   Plaintiff was forced to continue working with Defendant, Greg Roman.

       396.   Plaintiff was still forced to take orders from Defendant, Greg Roman.

       397.   Defendant, Greg Roman was still the Director of the Middle East Forum.

       398.   Defendant, Greg Roman began a campaign of retaliation aimed at Plaintiff, Lisa

Barbounis and the other female employees in the office who reported discrimination and

harassment including Marnie Meyer, Patricia McNulty, Delaney Yonchek, and Caitriona Brady.

       399.   Sometime around March 2019, Daniel Pipes held a meeting with Marnie Meyer,

Patricia McNulty and Plaintiff, Lisa Barbounis. The meeting was about bringing Defendant,

Greg Roman back to a position where he would resume almost all of his former responsibilities

as Director of the Middle East Forum.

       400.   After this meeting Defendant, Greg Roman began working directly with the staff

again, including the female staff who Defendant, Greg Roman had systemically victimized.

       401.   The decision to bring Defendant, Greg Roman back to Director of the Middle East

Forum was agreed upon with extreme reluctance. The female staff who conceded to the

decision which allowed Defendant, Greg Roman to resume his old responsibilities did so in order

to help the Middle East Forum as an organization.

       402.   It was clear that the MEF was going through a rough patch and the organization

seemed to be floundering.




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       403.    It was apparent that Daniel Pipes was consulting with Defendant, Greg Roman

behind the scenes and so the decision was made in the interest of helping Daniel Pipes and

helping the organization.

       404.    Because the MEF is a nonprofit organization with a specific objective, the

employees who work at MEF do so based on a strong belief in the MEF mission.

       405.    Defendant, Greg Roman was brought back on what was labeled a strict

probationary period. Daniel Pipes promised strict rules, guidelines, scrutiny, and oversight.

None of this occurred.

       406.    Defendant, Greg Roman was moved back to a position where he would interact

directly with the female staff who he prayed upon, abused, and harassed.

       407.    The female staff members, and Plaintiff, Lisa Barbounis agreed to this reluctantly

because they believed in the Middle East Forum’s mission.

       408.    The rules and guidelines agreed upon were intended to protect the female staff

who Defendant, Greg Roman had systematically victimized and sexually abused and harassed.

       409.    These rules and guidelines were quickly disregarded by Daniel Pipes and

Defendant, Greg Roman.

       410.    Accordingly, shortly after Defendant, Greg Roman’s return, Plaintiff, Lisa

Barbounis noted the discrimination and harassment and retaliation.

       411.    Defendant, Greg Roman used his position as Director of the MEF to subject

Plaintiff to tangible employment actions such as discipline and the threat of termination.

       412.    The female staff and Plaintiff, Lisa Barbounis were subjected to a continuing

hostile work environment including retaliation due to their reporting and opposing Defendant,

Greg Roman’s discrimination and harassment in the workplace.



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        413.   The female staff including Plaintiff, Lisa Barbounis attempted to discuss the fact

that bringing Defendant, Greg Roman back was not working, and that Defendant, Greg Roman

was actively disregarding the guidelines and rules that the female staff and Daniel Pipes agreed

upon.

        414.   Daniel Pipes continued his same policy employed for at least the last five (5)

years, of ignoring, disregarding, and refusing to take action in response to reports of

discrimination, harassment and retaliation concerning Defendant, Greg Roman.

        415.   Daniel Pipes and Defendant, Greg Roman used the female staff’s dedication to

the MEF mission to convince female staff to tolerate discriminatory and harassing working

conditions.

        416.   At all times Defendant, Greg Roman retained the position of Director of the

Middle East Forum.

        417.   At all times, Plaintiff was forced to continue working at the Middle East Forum

with Defendant, Greg Roman.

        418.   During the March 2019 meeting, Daniel Pipes announced that he was going to

eliminate the purported safe measures initiated to protect the female staff from Defendant, Greg

Roman’s severe and pervasive discrimination, harassment, and retaliation.

        419.   Accordingly, since March 2019, Plaintiff, Lisa Barbounis has been subjected to

working with Defendant, Greg Roman.

        420.   Defendant, Greg Roman’s campaign of retaliation since March 2019 has been

aimed at effecting Plaintiff’s termination from the Middle East Forum.




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           421.   This was around the same time when Plaintiff, Lisa Barbounis and coworker

Patricia McNulty learned about another allegation of sexual harassment involving Defendant,

Greg Roman.

           422.   Defendant, Greg Roman began a rumor that Marnie Meyer was having a sexual

relationship with Caitriona Brady’s father.

           423.   Caitriona Brady is an employee at the Middle East Forum who holds the position

Development Associate.

           424.   When Defendant, Greg Roman first learned that another allegation of sexual

harassment was reported, he did not yet know the details of the allegation.

           425.   Accordingly, Defendant, Greg Roman and Defendant, Mathew Bennett began a

guessing game where they attempted to guess what the allegation involved.

           426.   Defendant, Greg Roman incorrectly guessed that the sexual harassment allegation

involved a former intern named Gabrielle Bloom who Defendant, Greg Roman purportedly paid

for sex.

           427.   Defendant, Greg Roman subjected two female interns to quid pro quo sexual

harassment, as well as subjecting Plaintiff to a sexual assault.

           428.   Defendant, Greg Roman also subjected Plaintiff, Lisa Barbounis to quid pro quo

sexual harassment by conditioning a work trip to Israel on sharing the same Airbnb. Defendant,

Greg Roman set these conditions with the intent of leveraging the close quarters for opportunities

to make sexual advances.

           429.   Just days after the March 2019 meeting when Daniel Pipes announced that he was

eliminating the measures designed to protect female staff from Defendant Greg Roman,

Defendant, Greg Roman called Defendant, Mathew Bennett.



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        430.    Defendant, Greg Roman informed Defendant, Matthew Bennett, “now that I am

back, I am going to begin searching for a replacement for the Director of Development.”

        431.    This was the position of a coworker, Patricia McNulty who also reported being

subjected to discrimination and harassment by Defendant, Greg Roman.

        432.    Defendant, Greg Roman’s statement about Patricia McNulty indicated his intent

to retaliate against the employees who he called “the usurpers.” These were the women who

reported Defendant, Greg Roman’s discrimination and harassment.

        433.    Defendant, Greg Roman’s primary targets were Patricia McNulty and Plaintiff,

Lisa Barbounis.

        434.    Defendant, Greg Roman initiated a campaign of discrimination, harassment, and

retaliation against Plaintiff in an effort to effect Plaintiff’s termination.

        435.    Plaintiff reported this to Daniel Pipes.

        436.    Daniel Pipes utterly disregarded all of Plaintiff’s reports of ongoing

discrimination, harassment, and retaliation.

        437.    If anything, Daniel Pipes has continued to provide Defendant, Greg Roman more

access, authority, and opportunity with which to achieve his discriminatory and retaliatory

agenda.

        438.    Despite allowing Defendant, Greg Roman to return on probationary status, Daniel

Pipes continued to protect, shield, indemnify and assist Defendant, Greg Roman from any and all

impact caused by his severe and pervasive discrimination and harassment in the workplace.

        439.    Daniel Pipes has allowed, permitted, sanctioned and condoned Defendant, Greg

Roman’s sexual harassment and sex and gender discrimination and has never considered

meaningful measures designed to remediate the unlawful conduct.



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        440.    Accordingly, Daniel Pipes has condoned, sanctioned, permitted, and allowed the

discrimination, harassment, and retaliation to continue.

        441.    Defendants have made Plaintiff’s working conditions so onerous, abusive, and

intolerable that no person in Plaintiff’s shoes should be expected to continue working under such

conditions.

        442.    Plaintiff, Lisa Barbounis’s resignation was void of free will.

        443.    Plaintiff was constructively discharged from her employment due to the return of

Defendant, Greg Roman and the severe and pervasive hostile work environment which Plaintiff,

Lisa Barbounis was subjected to and due to the campaign of retaliation resulting from Plaintiff’s

opposition to and reports of discrimination and harassment in the workplace.

        444.    Defendants and Daniel Pipes and Defendant, Greg Roman have been subjecting

female staff of The Middle East Forum to discrimination and harassment and retaliation due to

their sex and gender for years.

        445.    The unlawful acts, comments and conduct described above all involved the same

individual and the same pattern of behavior which includes sexual harassment, sexual

misconduct, and sex and gender discrimination to which the female employees of MEF have

been subjected to for at least the last five (5) years.

        446.    The way in which Daniel Pipes ignored reports of discrimination and harassment

in the workplace concerning Defendant, Greg Roman created a reasonable inference that any

individual report of sexual harassment, sexual misconduct, or sex and gender discrimination by

Defendant, Greg Roman would be futile and would most likely result in retaliation.

        447.    Plaintiff, Lisa Barbounis was made aware of Laura Frank and Lara’s (last name

unknown) termination which resulted when Laura and Lara discussed Defendant, Greg Roman’s



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discrimination and harassment in the workplace. By providing this information to Plaintiff, Lisa

Barbounis, it was essentially a warning not even to discuss reporting discrimination and

harassment in the workplace.

       448.     For these reasons Plaintiff, Lisa Barbounis was reasonably dissuaded from

reporting Defendant, Greg Roman’s discrimination and harassment.

       449.     It helped Plaintiff feel more protected when Marnie Meyer, Patricia McNulty,

Plaintiff, Lisa Barbounis, Caitriona Brady, and Delaney Yonchek all came together to report

Defendant, Greg Roman’s unlawful conduct and comments in November 2018.

       450.     Defendants used to employ a female individual named Eman Patel.

       451.     Eman Patel was a gay Muslim female who worked at Middle East Forum.

       452.     Eman Patel was harassed by Defendant, Greg Roman until she was constructively

discharged. Defendant, Greg Roman’s objective was to make Eman Patel’s working conditions

so intolerable that she decided to discontinue her employment in a manner which Defendant,

Greg Roman and Daniel Pipes considered voluntary.

       453.     Both Daniel Pipes and Defendant, Greg Roman harassed Eman Patel until she

quit

       454.     Because of the number of protected classes that she could be considered to fall

within, Daniel Pipes and Defendant, Greg Roman called Eman Patel “a walking lawsuit.”

       455.     Daniel Pipes approved of the plan to harass and make Eman Patel’s work life so

intolerable that she quit on her own.

       456.     Daniel Pipes and Defendant, Greg Roman used Eman Patel’s gender to harass and

discriminate.




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        457.   Eman Patel is yet another member of the MEF female staff who was subjected to

discrimination and harassment due to her sex and gender.

        458.   Samantha Mandalas was another female employee of the Middle East Forum.

        459.   Samantha Mandalas said in her exit interview “if I would have been a male I

would have gotten more respect.”

        460.   Samantha Mandalas was subjected to discrimination and harassment due to her

sex and gender.

        461.   Plaintiff, Lisa Barbounis was subjected to a severe and pervasive atmosphere of

discrimination and harassment in the workplace.

        462.   Plaintiff now files this civil action lawsuit against the above named Defendants,

Middle East Forum, Greg Roman, Daniel Pipes, and Matthew Bennett. Plaintiff was employed at

the Middle East Forum from October 2017 until her unlawful termination by constructive

discharge August 2019.

        463.   Plaintiff Lisa Barbounis notified Defendants that she could no longer tolerate

working in such hostile work conditions and resigned her position at the Middle East Forum to

avoid further discrimination and harassment and retaliation to which Plaintiff was subjected by

Defendants during her employment.

        464.   Plaintiff's resignation letter notified Defendants that she could no longer tolerate

the severe and pervasive discrimination and harassment which caused Plaintiff to suffer physical

and mental distress.

        465.   Plaintiff reported the discrimination and harassment and was subjected to further

retaliation.




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        466.    When Plaintiff’s first Charge was filed in June 2019, Plaintiff had not yet been

constructively discharged from her employment.

        467.    After filing her Charge, Plaintiff was subjected to further discrimination,

harassment, and retaliation.

        468.    Plaintiff attempted to continue her employment at the Middle East Forum

however, Defendants initiated a campaign of retaliation against Plaintiff pursuant to Plaintiff’s

reports of discrimination and harassment and her attempts to vindicate her rights by filing a

Charge of Discrimination.

        469.    Plaintiff was subjected to tangible employment actions. Plaintiff was subjected

to a hostile work environment and the discrimination and harassment was so abusive, hostile, and

intolerable that no reasonable person could have expected Plaintiff to continue working is such

conditions such that Plaintiff’s resignation was void of free will.

        470.    Plaintiff’s position with the Middle East Forum was changed and altered.

Plaintiff’s ability to do the work that she was responsible for changed at Defendants subjected

Plaintiff to further discrimination and harassment and retaliation by reassigning Plaintiff or

subjecting Plaintiff to discipline.

        471.    Plaintiff was threatened. Plaintiff was ignored. The entire office Changed after

Plaintiff filed her Charge and it was communicated to Plaintiff without any ambiguity that

Plaintiff was no longer welcome at the Middle East Forum.

        472.    Plaintiff was made to understand that she was not welcome at the Middle East

Forum and that Plaintiff’s future at the Middle East Forum would afford Plaintiff no opportunity

for advancement and indeed Plaintiff would not even be permitted to perform the same




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responsibilities that she performed prior to Plaintiff submitting a Charge of Discrimination at the

EEOC and PHRC.

        473.    Defendants disparate treatment and retaliation against Plaintiff and the hostile

work environment that began October 2017 culminated in a tangible employment action:

Plaintiff’s termination.

        474.    Plaintiff Lisa Barbounis also adds additional retaliation which Defendants have

undertaken in their campaign of retaliation to which Defendants have subjected Plaintiff due to

Plaintiff's reports of and opposition to Defendants discrimination and harassment in the

workplace.

        475.    Defendants and Defendant, Middle East Forum has filed a Civil Action Complaint

against Plaintiff, Lisa Barbounis. Defendants have accused Plaintiff of violations of Breach of

Contract – Confidentiality & Non-Disclosure Agreement (Count I), Breach of Contract – Bring

Your Own Device Agreement (Count II), Computer Fraud and Abuse Act (Count III),

Pennsylvania Uniform Trade Secrets Act (Count IV), Defend Trade Secrets Act (Count V),

Stored Communications Act (Count VI), Conversion of Confidential Information (Count VII),

Breach of Fiduciary Duty (Count VIII), and Declaratory Judgment (Count IX). Defendants

attempt to litigate these frivolous claims is nothing more than retaliation.

        476.    This purely frivolous suit is Defendants attempt to harass, embarrass, disparage,

and discredit Plaintiff related to Plaintiff’s protected activity.

        477.    Plaintiff has filed a lawful Charge of discrimination and harassment and upon

receipt of her Right to Sue letter from the EEOC, Plaintiff filed a Civil Action lawsuit against

Defendants. Defendants have answered Plaintiff’s lawful Charge and Civil Action Complaint

with the above referenced frivolous Complaint.



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       478.    Defendants have forced Plaintiff to retain counsel, spent time and money to

defend this frivolous suit.

       479.    Defendants have retaliated against Plaintiff, Lisa Barbounis in a coordinated

effort designed to effect Plaintiff’s termination from subsequent employment held after

Plaintiff’s constructive discharge from employment with MEF.

       480.    The campaign of retaliation to which Plaintiff Lisa Barbounis is subjected in

ongoing and continues today.

       481.    Defendants’ campaign of retaliation is based on Defendants’ refusal to accept

responsibility for lawful claims of sexual harassment and sexual misconduct.

       482.    Defendants response to valid reports of discrimination and harassment in the

workplace has been a coordinated attack of the same women who were already victimized by

Defendants unlawful discrimination.

       483.    Accordingly, Defendants have responded to victims of sex and gender

discrimination by victimizing the same women further.

       484.    Defendants have made false allegations and filed frivolous unfounded lawsuits in

a coordinated and planned effort to force Plaintiff to spent time and money defending these

unlawful actions.

       485.    At no time did Defendants initiate a proper investigation to discovery and

remediate the severe and pervasive discrimination and harassment in the workplace.

       486.    Defendants have manufactured false evidence in their coordinated retaliatory

attack on Plaintiff, Lisa Barbounis.

       487.    Defendants have engaged in criminal conduct by promising to pay for testimony

in their coordinated retaliatory attack on Plaintiff, Lisa Barbounis.



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        488.    Defendants have provided false and misleading information to potential witnesses

in order to incite retaliatory behavior.

        489.    Defendants have threatened subsequent additional legal action based on

unfounded allegations without evidence to support the same.

        490.    Defendants have disparaged Plaintiff, Lisa Barbounis.

        491.    Defendants have invented a narrative and accused female employees of engaging

in a civil conspiracy.

        492.    Defendants have accused Plaintiff, Lisa Barbounis of misappropriating MEF

money without any valid evidence to support the frivolous claims.

        493.    Defendants have responded to the civil action complaint and lawsuit by attacking

the victims of Defendant, Greg Roman and Defendant Daniel Pipes discirminatoty conduct,

policies, and actions.

        494.    Defendants have also caused Plaintiff to suffer further emotional distress.

        495.    As a result of Defendants’ actions, Plaintiff felt extremely humiliated, degraded,

victimized, embarrassed and emotionally distressed.

        496.    The severe and pervasive discrimination and harassment in the workplace has

caused Plaintiff to suffer an acerbation and aggravation of any preexisting condition involving

emotional distress.

        497.    As a result of Defendants’ conduct, Plaintiff was caused to sustain serious and

permanent personal injuries, including permanent psychological injuries. As a result of

Defendants’ actions, Plaintiff felt extremely humiliated, degraded, victimized, embarrassed and

emotionally distressed.




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        498.    As a result of the acts and conduct complained of herein, Plaintiff has suffered

and will continue to suffer a loss of income, loss of salary, bonuses, benefits and other

compensation to which such employment entailed.

        499.    Plaintiff also suffered future pecuniary losses, emotional pain, humiliation,

suffering, inconvenience, loss of enjoyment of life, and other non-pecuniary losses.

        500.    Plaintiff has further experienced severe emotional and physical distress.

        501.    Plaintiff has suffered from severe emotional distress causes physical

manifestations as a result of Defendants’ unlawful and severe and pervasive conduct and

comments.

        502.    Any preexisting condition which Plaintiff may have maintained prior to her

employment for Defendant, MEF was acerbated and aggravated by the severe and pervasive

discrimination and harassment in the workplace.

        503.    As Defendants’ conduct has been malicious, willful, outrageous, and conducted

with full knowledge of the law, Plaintiff demands Punitive Damages as against all the

Defendants, jointly and severally.

        504.    Defendants have exhibited a pattern and practice of not only discrimination but

also retaliation.   At all times material Defendants refused to investigate or take appropriate

remedial action in response to Plaintiff’s complaints of discrimination, harassment and hostile

work environment.

        505.    Defendants discriminatory conduct was severe and pervasive, and created a

hostile work environment for Plaintiff.

        506.    The above are just some examples of some of the discrimination and retaliation to

which Defendants subjected Plaintiff.



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        507.   Plaintiff claims a pattern and practice of discrimination, claims continuing

violations, and makes all claims herein under the continuing violations doctrine. Defendants have

exhibited a pattern and practice of not only discrimination but also retaliation.



                         FIRST CAUSE OF ACTION
                    DISCRIMINATION UNDER TITLE VII
          HOSTILE WORK ENVIRONMENT AND DISPARATE TREATMENT
                        (all corporate Defendants only)

        508.   Plaintiff, Lisa Barbounis, hereby incorporates all allegations contained in

paragraphs one (1) through five-hundred-seven (507) as fully as if they were set forth at length.

        509.   Plaintiff’s claim for disparate treatment at this time relates to Plaintiff’s

discriminatory pay. Plaintiff was paid less than her male counterparts of the same or similar

work.

        510.   Plaintiff was also constructively discharged, however, Plaintiff will amend her

complaint when Plaintiff receives a second Right to Sue letter from the EEOC. When Plaintiff

filed her first Charge of Discrimination, Plaintiff remained employed with the Middle East

Forum. Accordingly, Plaintiff did not include facts related to Plaintiff’s constructive discharge

in her first Charge of Discrimination because it had not yet occurred. Plaintiff has since filed a

second Charge of Discrimination with the EEOC and reserves the right to amend her Complaint

to include an additional disparate treatment claim related to the hostile work environment,

retaliation and Plaintiff’s constructive discharge that occurred after Plaintiff filed her first Charge

of Discrimination.

        511.   This claim is authorized and instituted pursuant to the provisions of Title VII of

the Civil Rights Act of 1964, 42 U.S.C. § 2000e et. seq., as amended, for relief based upon the

unlawful employment practices of the above-named Defendants. Plaintiff complains of

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Defendants’ violation of Title VII’s prohibition against discrimination in employment based, in

whole or in part, upon an employee’s race, color, and/or national origin.

          512.   SEC. 2000e-2 [Section 703] states as follows:

                 (a) Employer practices

                 It shall be an unlawful employment practice for an employer –

                 (1) to fail or refuse to hire or to discharge an individual, or otherwise to

                    discriminate against any individual with respect to his compensation, terms,

                    conditions, or privileges of employment, because of such individual’s race,

                    color, religion, sex, or national origin; or

                 (2) to limit, segregate, or classify his employees or applicants for employment in

                    any way which would deprive or tend to deprive any individual of

                    employment opportunities or otherwise adversely affect his status as an

                    employee, because of such individual’s race, color, religion, sex, or national

                    origin.

          513.   Defendants engages in unlawful employment practices prohibited by 42 U.S.C. §

2000e et. seq., by discriminating against Plaintiff because of her sex and gender.

          514.   Plaintiff, Lisa Barbounis was subjected to sexual harassment which was severe

and pervasive.

          515.   Plaintiff claims that she was subjected to a hostile work environment based upon

the severe and pervasive discrimination and harassment in the workplace.

          516.   Plaintiff was also terminated from her employment based upon Plaintiff’s sex and

gender.




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        517.    Defendants engaged in several acts of discrimination and harassment that were so

severe that a single act was sufficient to create a hostile work environment.

        518.    Defendants also engaged on ongoing, continuous, daily abuse which was so

pervasive as to create a hostile work environment.



                                     SECOND CAUSE OF ACTION
                                   RETALIATION UNDER TITLE VII
                                   (against corporate Defendants only)

        519.    Plaintiff, Lisa Barbounis, hereby incorporates all allegations contained in

paragraphs one (1) through five-hundred-eighteen (518) as fully as if they were set forth at length.

        520.    Title VII of the Civil Rights Act of 1962, as amended, 42 U.S.C. § 2000e-3(a)

provides that it shall be unlawful employment practice for an employer: “(1) to…discriminate

against any of his employees…because [s]he has opposed any practice made an unlawful

employment practice by this subchapter, or because [s]he has made a charge, testified, assisted, or

participated in any matter in an investigation, proceeding, or hearing under this subchapter.”

        521.    Defendants engaged in unlawful employment practices prohibited by 42 U.S.C. §

2000e et. seq. by retaliating against Plaintiff with respect to the terms, conditions, and/or

privileges of his employment because of her opposition to and reporting of the unlawful

employment practices of Defendants.

        522.    Plaintiff continued to oppose the severe and pervasive discrimination and

harassment in the workplace and even submitted a written statement to report the discrimination

and harassment in the workplace.

        523.    Defendants refused to investigate Plaintiff’s reports of discrimination and

harassment in the workplace.


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          524.   Defendants refused to initiate prompt corrective actions.

          525.   Accordingly, Defendants permitted, sanctioned, condoned, and allowed the

discrimination and harassment to continue.

          526.   Any corrective action taken by Defendants was not enforced and Plaintiff was

subjected to a campaign of severe and pervasive retaliation which also created a hostile work

environment.

                             THIRD CAUSE OF ACTION
                    NEGLIGENT HIRING, RETENTION, SUPERVISION
                          (against corporate Defendants only)


          527.   Plaintiff, Lisa Barbounis, hereby incorporates all allegations contained in

paragraphs one (1) through five-hundred-twenty-seven (527) as fully as if they were set forth at

length.

          528.   Pennsylvania recognizes claims for negligent hiring, retention and supervision

when an employer has failed to exercise reasonable care in the selection or training of its

employees.

          529.   To maintain such an action, plaintiff must establish all elements of negligence,

including causation.

          530.   Plaintiff has indeed established above the elements of negligence. Defendant,

Middle East Forum owed a duty of care to its employees to use such care in the hiring, retention

and supervision of its employees.

          531.   An employer may be negligent for the failure to exercise reasonable care in

determining an employee’s propensity for violence in an employment situation where the

violence would harm a third person.




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       532.    In these situations, a plaintiff must establish that the employer breached a duty to

protect others against a risk of harm.

       533.    When the plaintiff has no special relationship with the employer (i.e., as in the

case of a stranger), the duty owed may be inferred from the general duty imposed on all persons

not to place others at risk through their actions.

       534.    The scope of this duty is limited to those risks that are reasonably foreseeable by

the actor in the circumstances of the case.

       535.    Plaintiff has alleged a history of sexual harassment, sexual abuse, and/or sex and

gender discrimination by Defendant, Greg Roman to which the female employees working at the

Middle East Forum have been subjected. Plaintiff has alleged facts that indicate that Defendant,

Middle East Forum had sufficient knowledge to be fully cognizable of the risk of harm that

Defendant, Greg Roman posed to Plaintiff, Lisa Barbounis.

       536.    Defendant, Middle East Forum breached its duty of care and this directly caused

the sexual assault of Plaintiff, Lisa Barbounis.

       537.    Defendant, Middle East Forum breaches its duty of reasonable care and this

directly led to the severe and pervasive sexual harassment to which Plaintiff, Lisa Barbounis was

subjected by Defendant, Greg Roman.

       538.    As a result of Defendant, Greg Roman’s conduct, Plaintiff, Lisa Barbounis

suffered a physical injury when Defendant, Greg Roman sexually assaulted Plaintiff.




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                           FOURTH CAUSE OF ACTION
                             DISCRIMINATION UNDER
                  PHILADELPHIA CITY ADMINISTRATIVE ORDINANCE
                            (against all named Defendants)

          539.   Plaintiff, Lisa Barbounis, hereby incorporates all allegations contained in

paragraphs one (1) through five-hundred-thirty-eights (538) as fully as if they were set forth at

length.

          540.   The Philadelphia Fair Practices Ordinance § 9-1103(1) provides that "It shall be

an unlawful discriminatory practice: “It shall be an unlawful employment practice to deny or

interfere with the employment opportunities of an individual based upon his or her race,

ethnicity, color, sex (including pregnancy, childbirth, or a related medical condition), sexual

orientation, gender identity, religion, national origin, ancestry, age, disability, marital status,

familial status, genetic information, or domestic or sexual violence victim status, including, but

not limited to, the following: (a) For any employer to refuse to hire, discharge, or otherwise

discriminate against any individual, with respect to tenure, promotions, terms, conditions or

privileges of employment or with respect to any matter directly or indirectly related to

employment."

          541.   Defendants engaged in an unlawful discriminatory practice in violation of

Philadelphia Fair Practices Ordinance § 9-1103(1) by creating and maintaining discriminatory

working conditions, and otherwise discriminating against Plaintiff because of Plaintiff’s

disability.

          542.   Plaintiff hereby makes a claim against Defendants under all of the applicable

paragraphs of Philadelphia Fair Practices Ordinance Chapter 9-1100.           Plaintiff claims




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violations of the Philadelphia Fair Practice Ordnance due to Defendants’ discrimination against

Plaintiff due to Plaintiff’s sex and gender.

                             FIFTH CAUSE OF ACTION
                            RETALIATION UNDER THE
                  PHILADELPHIA CITY ADMINISTRATIVE ORDINANCE
                            (against all named Defendants)

          543.   Plaintiff, Lisa Barbounis, hereby incorporates all allegations contained in

paragraphs one (1) through five-hundred-forty-two (542) as fully as if they were set forth at

length.

          544.   The Philadelphia Fair Practices Ordinance § 9-1103(1)(g) provides that it shall be

unlawful discriminatory practice: " For any person to harass, threaten, harm, damage, or

otherwise penalize, retaliate or discriminate in any manner against any person because he, she or

it has complied with the provisions of this Chapter, exercised his, her or its rights under this

Chapter, enjoyed the benefits of this Chapter, or made a charge, testified or assisted in any

manner in any investigation, proceeding or hearing hereunder.”

          545.   Defendants engaged in an unlawful discriminatory practice in violation of

Philadelphia Fair Practices Ordinance § 9-1103(1)(g) by discriminating against the Plaintiff

because of Plaintiff’s opposition to the unlawful employment practices of Plaintiff’s employer.



                            SIXTH CAUSE OF ACTION
                            DISCRIMINATION UNDER
PHILADELPHIA CITY ADMINISTRATIVE ORDINANCE – AIDING AND ABETTING
     (against individual Defendants only and not against corporate Defendants)

          546.   Plaintiff, Lisa Barbounis, hereby incorporates all allegations contained in

paragraphs one (1) through five-hundred-forty-five (545) as fully as if they were set forth at

length.



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          547.   The Philadelphia Fair Practices Ordinance § 9-1103(1)(h) provides that it shall be

unlawful discriminatory practice: "For any person to aid, abet, incite, induce, compel or coerce

the doing of any unlawful employment practice or to obstruct or prevent any person from

complying with the provisions of this Section or any order issued hereunder or to attempt

directly or indirectly to commit any act declared by this Section to be an unlawful employment

practice."

          548.   Defendants engaged in an unlawful discriminatory practice in violation of

Philadelphia Fair Practices Ordinance § 9-1103(1)(h) by aiding, abetting, inciting, compelling

and coercing the above discriminatory, unlawful and retaliatory conduct. The individual

Defendants aided and abetting the campaign of discrimination, harassment and retaliation against

Plaintiff due to Plaintiff’s race, color, and gender and disability and in retaliation for Plaintiff

opposing said discrimination and harassment in the workplace.



                               SEVENTH CAUSE OF ACTION
                           DISCRIMINATION UNDER STATE LAW
                              (against corporate Defendants only)

          549.   Plaintiff, Lisa Barbounis, hereby incorporates all allegations contained in

paragraphs one (1) through five-hundred-forty-eight (548) as fully as if they were set forth at

length.

          550.   The PHRA § 955 provides that it shall be an unlawful discriminatory practice:

"(a) For any employer because of the race, color, religious creed, ancestry, age, sex, national

origin or non-job related handicap or disability or the use of a guide or support animal because of

the blindness, deafness or physical handicap of any individual or independent contractor, to

refuse to hire or employ or contract with, or to bar or to discharge from employment such

individual or independent contractor, or to otherwise discriminate against such individual or

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independent contractor with respect to compensation, hire, tenure, terms, conditions or privileges

of employment or contract, if the individual or independent contractor is the best able and most

competent to perform the services required."

          551.   Defendants engaged in an unlawful discriminatory practice by discriminating

against the Plaintiff because of Plaintiff’s sex and gender.

          552.   Plaintiff hereby makes a claim against Defendants under all of the applicable

paragraphs of the PHRA § 955.


                                  EIGHTH CAUSE OF ACTION
                               RETALIATION UNDER STATE LAW
                                  (against all named Defendants)


          553.   Plaintiff, Lisa Barbounis, hereby incorporates all allegations contained in

paragraphs one (1) through five-hundred-fifty-two (552) as fully as if they were set forth at

length.

          554.   PHRA § 955(d) provides that it shall be an unlawful discriminatory practice: " For

any person, employer, employment agency or labor organization to discriminate in any manner

against any individual because such individual has opposed any practice forbidden by this act, or

because such individual has made a charge, testified or assisted, in any manner, in any

investigation, proceeding or hearing under this act."

          555.   Defendants engaged in an unlawful discriminatory practice by discharging,

retaliating, and otherwise discriminating against the Plaintiff because of Plaintiff’s opposition to

the unlawful employment practices of Plaintiff’s employer. Specifically, Defendants took action

against Plaintiff due to Plaintiff’s opposition to Defendants’ discrimination and harassment of Plaintiff.

Defendants also took action against Plaintiff due to Plaintiff’s involvement in a civil action lawsuit where


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Defendant, Philadelphia Housing Authority was a named Defendant. Defendants also took action against

Plaintiff due to Plaintiff’s ongoing reports of and opposition to sexual harassment and discrimination and

harassment based on sex and gender.


                                 NINTH CAUSE OF ACTION
           DISCRIMINATION UNDER STATE LAW – AIDING AND ABETTING
           (against individual Defendants only and not against corporate Defendants)

          556.   Plaintiff, Lisa Barbounis, hereby incorporates all allegations contained in

paragraphs one (1) through five-hundred-fifty-five (555) as fully as if they were set forth at

length.

          557.   PHRA § 955(e) provides that it shall be an unlawful discriminatory practice: " For

any person, employer, employment agency, labor organization or employee, to aid, abet, incite,

compel or coerce the doing of any act declared by this section to be an unlawful discriminatory

practice, or to obstruct or prevent any person from complying with the provisions of this act or

any order issued thereunder, or to attempt, directly or indirectly, to commit any act declared by

this section to be an unlawful discriminatory practice."

          558.   Defendants engaged in an unlawful discriminatory practice in violation of PHRA

§955(e) by committing assault and battery, aiding, abetting, inciting, compelling and coercing

the discriminatory conduct. Defendants aided and abetting the above discrimination based on

Plaintiff’s sex and gender.




                                            JURY DEMAND

Plaintiff requests a jury trial on all issued to be tried.


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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally,

in an amount to be determined at the time of trial plus interest, punitive damages, liquidated

damages, statutory damaged, attorney’s fees, costs, and disbursement of action; and for such

other relief as the Court deems just and proper.



                                                        DEREK SMITH LAW GROUP, PLLC



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DATED: August 24, 2020




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